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  1                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
  2                        CHARLOTTESVILLE DIVISION

  3   * * * * * * * * * * * * * * *
      ELIZABETH SINES, ET AL.,    * CIVIL ACTION NO. 3:17-cv-72
  4                               * MAY 24, 2018 10:28 A.M.
                    Plaintiff,    *
  5                               * CHARLOTTESVILLE, VIRGINIA
      vs.                         * VOLUME 1 OF 1
  6                               *
      JASON KESSLER, ET AL.,      *
  7                               *
                    Defendant.    *
  8   * * * * * * * * * * * * * * *
                     TRANSCRIPT OF MOTIONS TO DISMISS
  9                BEFORE THE HONORABLE NORMAN K. MOON
                       UNITED STATES DISTRICT JUDGE
 10
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 25   transcript produced by computer.
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 20   **************************************************************
 21        (Call to Order of the Court at 10:28 a.m.)

 22             THE COURT:   Good morning.

 23             I'd ask the clerk to call the case, please.

 24             THE CLERK:   Yes, Your Honor.     Civil Action

 25   No. 3:17-CV-72, Elizabeth Sines, and others, versus Jason
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  1   Kessler, and others.

  2             THE COURT:    Plaintiffs ready?

  3             MS. KAPLAN:    We are, Your Honor.

  4             THE COURT:    Defendants ready?

  5             MR. KOLENICH:    Yes, Your Honor.

  6             THE COURT:    All right.   Thank you.    We're here on the

  7   defendants' motions.     And we are only to determine here --

  8   this argument is over whether the pleadings are sufficient to

  9   state a cause of action against the defendants.         There will be

 10   no evidence, of course.     And I've given you a rough schedule

 11   of, you know, how much time allotted.

 12             But, remember, this is -- the argument is for my

 13   benefit to try to help me understand what the case is about,

 14   not necessarily for your benefit.       So if we need to, we'll

 15   bury that.    It's not written in stone.

 16             But do remember, we have looked at the briefs very

 17   carefully.    So it's not necessary to just repeat what's in

 18   your brief.

 19             All right.    Who is going to argue first for the

 20   defendant?

 21             MR. KOLENICH:    Good morning, Your Honor.

 22             THE COURT:    Good morning.

 23             MR. KOLENICH:    Sir, my name is Jim Kolenich.       I'm

 24   admitted pro hac vice from Ohio.      I represent Jason Kessler,

 25   Christopher Cantwell, Vanguard America, Robert Ray, Nathan
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  1   Damigo, Elliot Kline, Identity Evropa, Matthew Heimbach,

  2   Matthew Parrott, the Traditionalist Worker Party, Jeff Schoep,

  3   National Socialist Movement, Nationalist Front.         All those

  4   defendants have filed a motion to dismiss this complaint for

  5   failure to state a claim.

  6             The central argument of our motion, Your Honor, is

  7   that the plaintiffs have failed to establish the elements of a

  8   conspiracy either under federal or state law.

  9             The plaintiffs rely heavily on a good amount of

 10   conclusory allegations, such as that are highlighted in our

 11   brief, with a very few specific factual allegations thrown in.

 12   But what they mostly rely on -- and it is good lawyering.

 13   There's no denying that -- is that they've taken a conspiracy

 14   to show up in Charlottesville for a political rally and,

 15   because violence happened at that rally, tried to turn it into

 16   a conspiracy to commit violence, specifically racial violence

 17   in violation of Section 1985, the Thirteenth Amendment in

 18   Section 1982.

 19             Now, in support of this allegation, they bring forth

 20   numerous Internet communications, blog postings stating crude

 21   things, uncivilized things, impolite things, offensive things,

 22   and also stating outlandish and implausible things, such as

 23   alleging that there's a chemical that can be deployed that

 24   will dissolve a man on the spot leaving nothing but bones

 25   laying there.    This, of course, is hypobole.      No such chemical
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  1   exists.   Such as bringing forth a blog post that lists

  2   fictional farm equipment that can be used to run over

  3   pedestrians who are blocking traffic.       No such equipment

  4   exists.

  5             They wish to use this, apparently -- I guess they'll

  6   speak for themselves, but it seems to me they wish to use this

  7   to establish the element of a plan, a preexisting plan, a

  8   conspiracy to commit that type of violence with equipment that

  9   does exist.    Obviously, vehicles exist.      Mace exists.    Bats,

 10   sticks, fists, those all exist.      But what's lacking in their

 11   complaint, 112 pages of it and 56 pages of supporting brief is

 12   any preexisting conspiracy to actually perpetrate this

 13   violence.

 14             Undoubtedly, some violence occurred.       Undoubtedly,

 15   some violence that exceeded the limits of the law occurred at

 16   the rally.    And the state courts have determined that certain

 17   rally participants are guilty of crimes related to that

 18   violence.    But what is not apparent from the face of the

 19   complaint is that there was a preexisting agreement to engage

 20   in that violence.

 21             If I could, Your Honor, since you've allotted me a

 22   good amount of time, I would like to go over some of the

 23   specific paragraphs that the plaintiffs have cited in their

 24   supporting brief claiming that they have established the

 25   elements of a conspiracy.
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  1             Excuse me, Your Honor.

  2             The plaintiff directs us to Paragraph 37 and 39 of

  3   their amended complaint as to Defendant Jeff Schoep.          I'm

  4   having some technical difficulties here, Your Honor.          If you'd

  5   give me one minute.

  6             THE COURT:   Okay.

  7             MR. KOLENICH:    The plaintiff was kind enough to give

  8   me a hard copy, Your Honor.      We can proceed.

  9             Paragraph 37 and 39 of the amended complaint.         They

 10   say that this is part of their case against Jeff Schoep.

 11   "Defendant Schoep, a resident of Michigan, is the leader of

 12   Defendant National Socialist Movement, the largest neo-Nazi

 13   coalition in the United States.      On April 22, 2016, Schoep

 14   formed the Aryan Nationalist Alliance, later renamed the

 15   Nationalist Front, which is an umbrella organization of hate

 16   groups such as TWP, the Aryan Terror Brigade, regional

 17   factions of the Ku Klux Klan.      Schoep has said if he could

 18   meet Adolf Hitler today, he would say, 'Thank you'" and

 19   various other kind things about Hitler.

 20             And he tweeted after the events in Charlottesville,

 21   "It was an honor to stand with you all in C'ville this

 22   weekend."   Various groups and the rest are true warriors.

 23             Moving to Paragraph 38.     "Defendant National

 24   Socialist Movement is an unincorporated association."          It goes

 25   on to say it maintains business in Michigan.
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  1             And Paragraph 39, Nationalist Front is an

  2   unincorporated association maintaining a website.         Their

  3   complaint goes on and on like that.       And I realize those are

  4   introductory paragraphs identifying a defendant, but it is

  5   heavy on paragraphs just like that.

  6             There is no specific allegation in those paragraphs

  7   that says Schoep or the NSM or anybody else engaged in any

  8   conspiracy to do anything except go to Charlottesville for a

  9   political rally.

 10             Now, where -- later on, let's go -- they cite us to

 11   paragraph -- we'll go further -- 187 and 188.        187, "On

 12   August 12" -- this is under a heading "Defendants

 13   Intentionally Planned a Violent Confrontation with

 14   Counter-Protesters."

 15             "On August 12, defendants, their co-conspirators and

 16   others" -- although it's either defendants and their

 17   co-conspirators.    I don't know what others might be there,

 18   "acting at their direction executed their plan to carry out

 19   racial, religious, and ethnic violence, intimidation, and

 20   harassment."

 21        (Court reporter asked for clarification.)

 22             MR. KOLENICH:    "Defendants Kessler, Cantwell, Mosley,

 23   Heimbach, Hill, Invictus, Ray, Spencer, Damigo, Peinovich,

 24   Fields, Parrott, Tubbs, Nationalist Front, all the defendants

 25   who were there all participated in violent events of the day."
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  1              Now, that paragraph adds nothing.      It's a conclusory

  2   paragraph.    It doesn't say what they did or didn't do, where

  3   their agreement is.     It doesn't add anything.

  4              Okay.   They are going to say that's an introductory

  5   paragraph to a section.

  6              Moving on.   188.    "Defendants and co-conspirators

  7   planned to arrive early and anticipated and encouraged the use

  8   of violence to assist the rally."       Now, they put a quote in

  9   here.    "As one co-conspirator explained:      'Me, the rest of

 10   TWP, League of the South have been to more than one rodeo.

 11   And shit NSM will be there early too.       Those guys are nuts in

 12   a good way.'    Defendant Kessler promised there would be

 13   hundreds of members of TWP and League of the South at the

 14   park."

 15              Again, colorful language, but where is there evidence

 16   of a conspiracy or an agreement to do anything except show up

 17   at the park?

 18              It doesn't even -- if you take -- as you must -- if

 19   you take the plaintiff's allegations in each of these

 20   paragraphs in the best possible light, it doesn't allege that

 21   they've ever been responsible for violence at any of their

 22   prior political rallies.       It merely alleges that they got into

 23   fights.    That's not sufficient to sustain a conspiracy

 24   allegation here.

 25              They specifically sued the defendants for planning to
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  1   come to Charlottesville and physically assault with racial

  2   animosity, not merely physically assault but for racial and

  3   religious reasons the local citizens or at least the local

  4   counterprotesters.    They have to have proof of an a priori

  5   agreement to do that.

  6             Now, they've a lot of proof -- and we'll just concede

  7   for purposes of this motion, Your Honor, that these guys knew

  8   each other and had an opportunity to communicate with each

  9   other prior to coming to Charlottesville.        They certainly had

 10   an opportunity to conspire.      We're not denying that.      The

 11   question is did they conspire?      Is there sufficient allegation

 12   that they conspired?

 13             They came to Charlottesville.      They knew each other.

 14   They planned to come to Charlottesville, but where is the

 15   allegation they planned to engage in racial violence?

 16             They say a lot of racial things on the Internet.

 17   They came to Charlottesville to chant and say a lot of racial

 18   things.   Yes, they did.    But the Skokie, Illinois, case may

 19   explain that that doesn't matter.       You can't sue over that.

 20             If in the 1970s in Skokie, Illinois, you can't

 21   actually wear a replica Nazi uniform, fly Nazi flags through a

 22   predominantly Jewish community, and if that's First Amendment

 23   protected speech, then saying the same kind and doing the same

 24   kind of things today, you know, that case hasn't been

 25   overruled.   Perhaps the Court will have a different look at
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1    it, but you are running up against existing precedence if you

2    say that's not First Amendment protected speech.

3             So they need more.     And they try to give them more

4    because violence occurred, but they need a preexisting

5    conspiracy.   Not to show up and offend people, not to show up

6    and yell at people, not to show up and look offensive,

7    ridiculous, however they want to characterize it, scary.         They

8    need a preexisting condition to actually physically attack

9    people or otherwise impede their rights in a colorable,

10   actionable way.   They don't have it.     They want to say that

11   because it happened they must have conspired ahead of time.

12            Now, the leading case or at least a case from the

13   Western District, Frazier v. Cooke, which is cited in our

14   brief, was a case where there were two men, white men sitting

15   on a porch, a black man across the street playing basketball.

16   The white man said same racially insensitive comments.         One of

17   the black men comes across the street onto the white man's

18   property and says, you shouldn't talk like that, you shouldn't

19   say that.

20            The allegation there was that the two white men

21   looked at each other and then in concert stood up, got off the

22   porch and beat the black man up there on the white people's

23   front yard.   That stated a claim for 1985 conspiracy.

24            So we must admit and we do that the conspiracy can

25   happen in an instant, right there in the moment.        But they
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1    have to have agreement, as is plain from the cases cited in

2    our brief, from each member of the conspiracy in order to hold

3    them liable.

4             So if there's ten men on that porch and only two of

5    them look at each other and get up and go beat up the black

6    man, the other eight haven't conspired to exist in a 1985

7    conspiracy.

8             Even if they all think that it's funny, the racially

9    insensitive language or insulting language is funny, there's

10   no 1985 conspiracy.    They have to take action to do that.

11            Now, the vast majority and in some cases all of the

12   allegations against some of my clients are that they conspired

13   to go to Charlottesville.    That's it.    They went to

14   Charlottesville to have a rally.

15            Yes, they are provocative people.       Yes, they have a

16   far-right political ideology.     Yes, they carried torches.

17   While carrying those torches, the plaintiffs have alleged that

18   certain plaintiffs were physically assaulted.

19            I have two things to say about that.       One is

20   plausibility.   We live in an era -- you know, since Ashcroft

21   and Iqbal, plausibility is mandatory.      They have alleged that

22   lighter fluid was thrown on the people, followed by lit

23   torches, and yet nothing catches on fire.       I don't know how we

24   are going to test that here in court.      Bring in a grill or

25   something and see how that works?      But if lighter fluid and a
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1    torch is thrown on somebody, something should catch on fire.

2    That allegation in and of itself is implausible, we will

3    submit to the court.

4               Secondarily, there were hundreds of people at this

5    torch rally, according to their complaint.       Limiting ourselves

6    to the universe of our complaint as we must, there were

7    hundreds of people carrying torches at this rally.        Only a

8    couple, and none of my clients, are alleged to have assaulted

9    people with the torches and the lighter fluid.

10              So going back to Frazier and Cooke, if there's ten

11   people on that porch and only two of them look at each other,

12   step off the porch and assault a racial minority, if the other

13   eight haven't conspired, then they don't have a sufficient

14   allegation of a conspiracy against all the people carrying

15   torches.    Only the people who actually physically assaulted

16   plaintiffs have engaged in a conspiracy that was agreed upon

17   there in the moment.

18              Moving to the next day, the actual August 12 rally,

19   they want to say that there's a conspiracy to do violence

20   because certain of the Internet postings by organizers, some

21   of my clients, Mr. Kessler, Mr. Cantwell, stated bring signs,

22   bring sign posts because you can use that if things get

23   violent.    They want you to reach the conclusion that that

24   means they planned to use the sign posts and other implements

25   for purposes of committing racial violence, but it doesn't say
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1    that.   That's not a reasonable implication from that.

2              They were going to a political rally.       Of course

3    they're going to have signs.     They're going to have posts.

4    They're going to be chanting.     They need to show that there

5    was a conspiracy beforehand to use that stuff for violent

6    acts.

7              Now, maybe somewhere in that complaint that I haven't

8    found they've got that agreement there in the moment where two

9    guys are, like, all right, let's charge over there.        You know,

10   the melee starts and two guys decide to jump in, as happened

11   with some of the criminal convictions.      A melee started.      Some

12   other guys jumped in, and they ended up convicted of crimes.

13             We're not arguing that that's not possible.       We're

14   not arguing that you should dismiss a claim if they've shown

15   that.   I just can't find it.    Maybe I didn't carefully enough

16   read 160-whatever pages, but they're arguing that all this

17   stuff was planned out ahead of time.      In fact, they used this

18   language for months and months and months ahead of time, the

19   alt-right marchers came here planning to assault people, to

20   racially assault people.

21             They do have a specific allegation against one of my

22   clients, Robert Ray, that he verbally berated somebody while

23   standing next to men carrying AR-15 rifles -- or I'm sorry.

24   They used the phrase "rifles."     I don't think they specified

25   the kind -- outside of a synagogue, but that allegation is
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1    deficient.   It doesn't say that they knew it was a synagogue

2    or Mr. Ray knew it was a synagogue.      It has somebody

3    screaming, there's the synagogue.      It doesn't say that Ray

4    knew or that he heard that person screaming.       It doesn't say

5    that he harassed anybody in an anti-Semitic way.        It says he

6    specifically referenced the phrase "white sharia," which is,

7    if anything, an anti-Muslim phrase or an anti-feminist phrase.

8    It's certainly not an anti-Semitic phrase, at least not until

9    this case.

10            It doesn't say that he attacked anybody.        It doesn't

11   say that he swung at anybody.     It doesn't say that he pointed

12   a gun at anybody, threw a rock, nothing.       Just ran his mouth

13   while wearing anti-Semitic language on his shirt.        I can't

14   remember what the language is, but we'll concede that it's

15   anti-Semitic.

16            Again, if all you're doing is marching and using

17   language, provocative and insulting though it may be, the

18   Skokie case precludes saying that's actionable.        It's First

19   Amendment protected speech, however much it may be a problem

20   for people witnessing the speech, however scared certain

21   people might get having to witness that speech.

22            Now, in the Skokie case itself, the judges there, you

23   know, said that, you know, if they're coming back every day

24   with this stuff, maybe that presents a different case.         If

25   they're coming back frequently maybe it presents a different
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1    case.   But once or once a year, we don't have any choice but

2    to allow it.   It's speech.    It's political speech, and it's

3    protected by the First Amendment, however afraid certain

4    residents might be of it and of the people using it.

5              So it is our contention in this motion that that is

6    all the plaintiffs have brought to this court.        They have

7    brought no a priori or preexisting conspiracy to do violence,

8    but rather there's a conspiracy to come to Charlottesville and

9    be provocative in their political speech which is protected.

10             We are not arguing that the First Amendment protects

11   violence or that the Second Amendment protects criminal

12   violence.    Certainly not.   We're not arguing that you're

13   allowed to bring a gun to a political rally and then point it

14   at people, no, or use it to intimidate people, no.

15             What we are arguing is that torches, chants, raising

16   your voice, all of that goes along with a political rally, and

17   it is not actionable.    It is First Amendment protected speech.

18             And to the extent that they had any 1985 conspiracy

19   in this complaint drawn from the Thirteenth Amendment from

20   1982, wherever, it is a spur-of-the-moment conspiracy between

21   limited numbers of people, none of which are my clients.

22   Everything they've got against my clients is before they got

23   to Charlottesville.    And it's all protected by the First

24   Amendment.

25             They do have state law claims, state law conspiracy
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1    and then a state law racial harassment statute.        And they have

2    problems there as well.

3               As to my clients, you know, the only person that they

4    said racially harassed somebody or religiously harassed

5    somebody was a plaintiff, Wispelwey.      And Wispelwey claims

6    that he was assaulted by a defendant named Augustus Invictus.

7    It's not one of my clients.     It doesn't say that one of my

8    clients was standing there agreeing with Invictus to do this.

9    And it specifically doesn't have any allegations that there

10   was an a priori agreement to hunt down Plaintiff Wispelway or

11   anybody else and harass them face to face.       That's not what

12   was agreed to.    That's not what was discussed.      There's no

13   discussion beforehand, an allegation of a discussion

14   beforehand in the complaint to go hunt down the synagogue or

15   hunt down a reverend and harass them on the street or anywhere

16   else.

17              That's not to say that the plaintiffs weren't worried

18   about being assaulted.    They may well have been, but they

19   weren't.    And the fact that the defendants are scary-looking

20   individuals saying and doing scary-looking things isn't the

21   same thing as assaultive behavior.      And however worried they

22   may have been doesn't transform it into a 1985 conspiracy.

23              Again, back to Frazier and Cooke.     Had the two looked

24   at each other, stepped off the porch and walked past the black

25   man, is there a conspiracy?     Even though he was nervous he was
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1    going to get hit, we would submit to the court no.

2             Now, as to the Virginia law, their complaint as to

3    the Virginia conspiracy is heavy on Section 18 of the Virginia

4    code, the criminal code.    Now, Virginia law based on the

5    Vansant case we've cited doesn't automatically allow a civil

6    cause of action for violations of a criminal statute.

7             The plaintiffs in arguing against that point cite to

8    a case called BellSouth.    It's in their pleading.      That says

9    that a civil cause of action will lie but only if you -- and

10   it states -- the case is explicit -- if you injure the

11   plaintiff in their trade or business.      And none of these

12   plaintiffs, to my knowledge as I stand here, have argued that

13   they were injured in their trade or business.       They would

14   argue that they were personally injured.

15            So their argument is off base.      Virginia law does not

16   allow civil liability in these circumstances for violations of

17   a criminal statute.    And that's what their Virginia conspiracy

18   is about, violations of criminal statutes, causing a riot and

19   so forth.

20            As to their racial and religious harassment state law

21   claim, again they just had Augustus Invictus.       They don't

22   bring my clients into it.

23            They do mention the presence of some of my clients at

24   the torchlight rally.    But, again, they don't say -- and they

25   know who my clients are.    They've obviously sued my clients.
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1    They've identified my clients.      Their clients have identified

2    my clients, but they specifically do not say that any of my

3    clients who were at the torchlight rally threw any lighter

4    fluid, threw any torches or any such thing and, importantly,

5    conspired to do any such thing.

6              Now, there is the business about mace, people being

7    maced.   But again, which of my clients agree with somebody

8    else to mace the participants?      That is deficient in this

9    complaint, the First Amendment complaint.

10             So I hope that it's clear what our argument is.        It

11   is a defect in their conspiratorial arguments as well as state

12   law defects, and that is what we wish to present to the Court.

13             THE COURT:   Thank you.

14             MR. KOLENICH:   Thank you, Your Honor.

15             THE COURT:   All right.

16             MR. JONES:   Good morning, Your Honor.      My name is

17   Bryan Jones.   I'm representing League of the South, Michael

18   Hill, and Michael Tubbs.

19             To survive a 12(b)(6) motion, plaintiffs must allege

20   sufficient facts to nudge a claim beyond being merely

21   conceivable, to be plausible.     And conclusory legal statements

22   are not enough.

23             In their memorandum of law in support of their motion

24   in opposition to our motion to dismiss, plaintiffs list on

25   page 30 all of the instances where my three clients are named
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1    in their -- in the complaint.     There are 24 paragraphs where

2    my clients are listed in the complaint.

3               What is just as important as what is listed is what

4    is missing from their complaint.     Plaintiffs allege that much

5    of this conspiracy was planned online using platforms such as

6    Discord.    Plaintiffs have obtained numerous communications on

7    Discord between participants at the rally and some of the

8    defendants.

9               None of my clients are alleged in the complaint to

10   have made any actual statements on Discord.       There are no

11   agreements from my clients to commit any acts, no agreements

12   even to do anything, no statements whatsoever on Discord.

13              The facts in the plaintiffs' complaint merely allege

14   that --

15              THE COURT:   Who has access to Discord?     Who has it?

16   I mean, can anyone access Discord?

17              MR. JONES:   I don't know if that's alleged in the

18   complaint, but it is alleged in the complaint and we must

19   accept as true the League of the South had a Discord channel,

20   but there's no allegation that any of communications --

21              THE COURT:   I'm just curious.   Could someone not,

22   say, associated with one of the defendants post anything on

23   Discord?

24              MR. JONES:   I'm not sure, Your Honor.     It's my

25   understanding that you have to be invited onto Discord, onto
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1    the specific channels.

2             So the facts in the complaint simply allege that my

3    clients participated in the rally on August 12.        There is no

4    specific allegations that they were present on August 11,

5    before that.

6             The allegations are that they marched in formation

7    from the parking garage to the park, that Michael Hill's name

8    was on the poster, that after the rally he tweeted, "League of

9    the South had a good day in Charlottesville.       Our warriors

10   acquitted themselves as men.     God be praised."

11            There's allegations that there was some scuffling

12   between Michael Tubbs and some of the counterprotesters.         No

13   allegation that that was a violation of those

14   counterprotest -- no names or none of the plaintiffs are

15   alleged to have been any of those counterprotesters.

16            So we have a similar argument, Your Honor, that this

17   is alleged to be a conspiracy.     They don't have facts to

18   support sufficiently carrying the claims beyond merely

19   conceivable to plausible.

20            They've been able to infiltrate the secret

21   communications between the parties, but they have not been

22   able to plead specific facts against my three clients, Your

23   Honor.

24            That would be my initial argument.       Thank you.

25            THE COURT:    Thank you, sir.
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1              All right.

2              MR. DiNUCCI:    Good morning, Your Honor.     My name is

3    John DiNucci.   I represent Mr. Spencer.     Just entered an

4    appearance yesterday.     Pleasure to be here, Your Honor.

5              If I can raise two points, which candidly I have not

6    seen in any of the defendants' motion, memorandum of points in

7    authorities.

8              There is a request in the case for injunctive relief.

9    But from my quick and dirty reading of the complaint, after

10   several quick and dirty readings, I don't see any facts

11   pleaded that would entitle the plaintiffs to injunction of any

12   sort.   None whatsoever.

13             Secondly, and very briefly again -- this too was not

14   in any of the briefs that I've seen -- I would argue that the

15   plaintiffs who seek punitive damages haven't pleaded the

16   requisite facts to get punitive damages.       Although there's

17   language about racial animus and the like, I don't see any of

18   the boilerplate standard allegations that one would make to

19   get punitive damages.     There's nothing about hatred, spite,

20   malice.   There's certainly no such allegation made about my

21   client, Mr. Spencer.     So I would suggest that both the prayers

22   for relief should be stricken with respect to the conspiracy

23   allegations, which seem to be the heart of the matter.

24             I'm referring to several cases from the Western

25   District as well from the Fourth Circuit.       The Muhammad v.
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1    Taylor case, which was decided by Judge Kiser in 2017, I

2    quote, "Allegations of 'parallel conduct and a bare assertion

3    of a conspiracy' are not enough for a conspiracy claim to

4    proceed," citing Society Without a Name v. Virginia, 655 F.3d

5    342.

6             The Weathers v. Ebert case involving Mr. Ebert, a

7    commonwealth's attorney from Prince William County dismissing

8    a conspiracy claim, and I quote, "The other allegations are

9    only general statements that he," Mr. Ebert, "acted in concert

10   with others.   These" -- and this is the key -- "unsupported by

11   averments of communication, consultation, cooperation, or

12   command, do not make him responsible under 1983 for the acts

13   of others."

14            Averments of communication, consultation, cooperation

15   or command, which allegations are not made in this case.         And

16   I'll get to some of the illustrative paragraphs in a moment.

17            And then going back to the Society Without a Name v.

18   Virginia case, 1985(3) claims dismissed.       The court saying, I

19   quote, "The complaint fails to allege with any specificity the

20   persons who agreed to the alleged conspiracy, the specific

21   communications amongst the conspirators, or the manner in

22   which any such communications were made."       That's the

23   framework.

24            The complaint does not sufficiently allege

25   communications, consultations, commands by Mr. Spencer or for
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                                   2283                               23


1    that matter, I suppose, any of the other defendants.

2             As an example, Paragraph 64, and I quote, "Defendant

3    Spencer and co-conspirator Evan McLaren, a member of Defendant

4    Identity Evropa, met in person at the Trump Hotel in

5    Washington, D.C., to organize and direct the 'rally' in

6    Charlottesville, with the purpose and result of committing

7    acts of violence, intimidation, and harassment against

8    citizens of Charlottesville."

9             With the purpose and result, but there's nothing said

10   in that paragraph about what the communications were.         What

11   did these gentlemen say?    These are purely conclusory

12   allegations not based on any pleaded fact.

13            Paragraph 230, "Defendants Spencer and Peinovich" --

14   if I pronounce that correctly -- "spoke to their followers at

15   McIntire Park.   Peinovich" -- if I pronounce that correctly --

16   "called the counterprotesters savages."

17            There's nothing about what Mr. Spencer allegedly said

18   there, assuming he was there.     It has to be taken as truth of

19   the matter he was there.    Nothing about what he said.       Nothing

20   about communication he had with Mr. Peinovich or anybody else.

21            Paragraph 315.    "Defendant Spencer and

22   co-conspirators McLaren met in person to plan unlawful acts of

23   violence, intimidation, and denial of equal protection for the

24   Unite the Right events."

25            Again, no allegation of what was said.        It's talking
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1    about to plan to do something.     And, in fact, in those

2    paragraphs I'm quoting from, they don't say they actually came

3    to a conclusion on a plan.

4             Then they cite various what I'll call anodyne

5    statements by Mr. Spencer that don't amount to incitement of

6    violence and don't evidence -- they actually don't constitute

7    a direct communication with any other alleged co-conspirator

8    and don't amount in and of themselves to conspiracy.

9             Paragraph 52.    This is Mr. Spencer.     "What brings us

10   together is that we are white, we are a people.        We will not

11   be replaced."   That's not evidence of a conspiracy.       That's

12   not communication with another individual to plan something.

13   It's not urging anyone to act or agree to act.        It's not an

14   incitement to violence.

15            Paragraph 85.    And I may garble this one.      I can't

16   read my own writing, Your Honor.     "A 'Charlottesville

17   Statement' was distributed by Defendant Spencer, setting out

18   the philosophy and ideology underlying the rally."        And it

19   quotes it.

20            It indicates that Mr. Spencer went on to say,

21   "Racially or ethically defined states are legitimate and

22   necessary."   That's not a communication with another alleged

23   co-conspirator designed to create an agreement.        He's just

24   making a public statement.

25            Paragraph 120, and this was after the events started
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1    to occur on Saturday.    "Defendants" -- I believe it was

2    Saturday.   "Defendant Spencer put out a call for attorneys on

3    his website, altright.com."     And that's not, again, a direct

4    communication with any of the other alleged co-conspirators.

5    It's certainly not an incitement to violence.       He's saying

6    people may need legal counsel given what's going on.

7             Paragraph 141.    "Defendant Spencer tweeted a picture

8    of Commonwealth Restaurant, which had a sign in the window

9    reading, 'If quality and diversity aren't for you, then

10   neither are we.'"

11            Now, the plaintiffs in the following paragraph, 142,

12   try to suggest that somehow that was an invitation for people

13   to wreak havoc on, vandalize, I suppose, that restaurant or

14   perhaps others.   But that's not -- actually, that's after the

15   conspiracy had been performed.     As other counsel said, you've

16   got to have a prior agreement that results in these acts.

17   That's not an indication of any prior agreement.

18            If I read the complaint correctly, what it consists

19   of primarily where it talks about alleged acts or

20   communications to conspire, they're collective allegations

21   about the defendants.    They don't specifically say Mr. Spencer

22   said this, communicated with this guy, or the same is true as

23   to other defendants.

24            Paragraph 68.    "Defendants also frequently

25   coordinated the illegal acts planned for the Unite the Right
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1    event online."   It doesn't say Mr. Spencer.      "They made use of

2    websites, social media, including Twitter, Facebook, 4chan,

3    8chan" -- I don't know what those are -- "chat rooms, radio,

4    videos, and podcasts to communicate with each other and their

5    co-conspirators, followers and other attendees and did so to

6    plan the intended acts of violence and intimidation, and the

7    denial to citizens of equal protection of law."

8             It doesn't mention Mr. Spencer.       It doesn't say

9    Mr. Spencer engaged in any particular communication.        That's

10   not specificity to support a conspiracy claim.        And they don't

11   identify in that paragraph the actual communications they're

12   taking about.

13            Paragraph 71, "One Internet tool defendants used

14   extensively" -- and defendants collectively, not identifying

15   Mr. Spencer or anybody else.

16            "One Internet tool defendants used extensively to

17   plan and direct illegal acts was the chat platform Discord."

18   No reference to Mr. Spencer.     Nowhere in the complaint is

19   there indication that Mr. Spencer had access to that platform,

20   if that's the right word, or actually utilized it.        No

21   allegation whatsoever.

22            And if I recall the brief that the plaintiffs have

23   submitted for purposes of this hearing, they indicate that

24   that was the principal means by which the defendants allegedly

25   communicated to form this alleged conspiracy.       The principal
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1    means, but no reference to Mr. Spencer as to accessing the

2    Discord platform.

3              Paragraph 72.    "Defendants" -- again defendants

4    collectively -- "used Discord as a tool to promote,

5    coordinate, and organize the Unite the Right rally, and as a

6    means to communicate and coordinate violent and illegal

7    activities in secret during the actual events of that

8    weekend."

9              No reference to Mr. Spencer.     Just a collective

10   allegation.   If there is evidence to support the claim here,

11   it would be in there.     Why don't they say Mr. Spencer did

12   these things?

13             And that's important because if you go to

14   Paragraph 74, there's a technique used in this complaint I

15   want to point out.   It says, "Individuals including Heimbach,

16   Parrott, Cantwell, and Ray, were all participants in Discord,

17   and participated in the direction, planning, and inciting of

18   unlawful and violent acts through Discord."

19             Individual defendants including the three or four

20   people.   I can't count.    No mention of Mr. Spencer.     Doesn't

21   say including Mr. Spencer.     By definition that means he wasn't

22   part of it, because if he was they would have said so.         If

23   they had evidence, they would have said so.       They haven't

24   pleaded he was part of any communication through Discord.

25             Same thing in Paragraph 97:     "On Discord, moderated
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1    and controlled by Defendants Kessler and Mosley, there were

2    countless exhortations to violence, including," and then it

3    goes on.

4               "Moderated and controlled by Defendants Kessler and

5    Mosley."    Doesn't say moderated and controlled by Defendant

6    Spencer.    Doesn't say Defendant Spencer accessed, used,

7    participated in the use of Discord.

8               There's other such references with the word

9    "including."    Paragraph 102, actually it is a little bit

10   different, Your Honor.    Paragraph 102, "Co-conspirators on

11   Discord incited attendees to bring weapons and engage in

12   violence.    The incitement was known to and promoted by

13   defendants."    But again, no reference to Mr. Spencer.       No

14   reference to Mr. Spencer.

15              How then can they say he is part of this conspiracy?

16   They don't plead any -- really don't plead any communications

17   by Mr. Spencer.    And then to the extent they in a general

18   fashion talk about communications, they don't mention

19   Mr. Spencer.    They're just collective allegations about

20   defendants.

21              In short, there is not any -- there is no sufficient

22   allegation of communication, consultation, cooperation, or

23   command by Mr. Spencer.    They don't allege -- they don't

24   sufficiently alleged he is part of a conspiracy.

25              With respect to -- and the same problem, of course, I
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1    would respectfully submit, infects, if you will, their civil

2    conspiracy claim under Virginia law.      They simply haven't

3    pleaded the necessary communications or the like to indicate

4    he was part of a conspiracy.

5               THE COURT:   Is there any difference in whether it be

6    a civil conspiracy or a criminal conspiracy?       Not him, but in

7    the law is there any difference in a civil and a criminal

8    conspiracy?

9               MR. DiNUCCI:   Other than with respect to burden of

10   proof, I would think not.     But I'll be blunt, Your Honor.      I

11   wasn't prepared for that question.      I've just gotten in this

12   case.   But the simple fact is -- well, they -- for whatever

13   purpose, they have simply not pleaded facts.       This, as counsel

14   has pointed out, are purely conclusory.

15              THE COURT:   I understand that.   But, I mean, we try

16   these drug cases.   There's people acting all over everywhere,

17   and no one has said a word that they can convict 20 or 30

18   people in a drug conspiracy with nothing but actions.

19              MR. DiNUCCI:   Understood.   I mean, I understand the

20   concept.

21              THE COURT:   Well, I understand the law in these cases

22   is you have to be pretty specific about what was said and

23   done, but I was just asking.

24              MR. DiNUCCI:   Well, if the theory is that there was

25   of a tacit conspiracy or implied conspiracy, I would
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1    respectfully submit that at least logically you still have to

2    have some communication with the other alleged

3    co-conspirators.    It may just be a wink and a nod.      I think

4    the example -- I get your name butchered, but other counsel

5    mentioned was an instant conspiracy between a couple of guys

6    on a porch to go beat up a black man.      It could be a wink and

7    a nod, but they don't even allege a wink and a nod here.          We

8    don't have anything specific.

9             On 8.01-42, the Virginia civil harassment statute,

10   there's no -- at least I don't remember seeing any allegation

11   of any particular act by Mr. Spencer.      There's again just a

12   collective allegation that four or five defendants

13   collectively, you know, violated the statute.       They don't say

14   what act of harassment, particular act of harassment against

15   what particular individual Mr. Spencer engaged in.

16            The same.    They don't allege any particular act of

17   violence by Mr. Spencer against any particular individual.

18   We're left to guess what they're talking about.        And they

19   certainly don't allege any vandalism of property by

20   Mr. Spencer, which is the third component of the Virginia

21   civil harassment statute.

22            I also would -- I guess I have to confess my

23   ignorance here.    I'm having a hard time defining exactly what

24   legal theory beyond conspiracy as a general proposition the

25   plaintiffs advance.
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1               They -- in the complaint at, for example,

2    Paragraph 60, 65 through 68, 315 through 322, 324 through 326,

3    and 341, the plaintiffs allude to a deprivation of a right to

4    equal protection.    Yet, nowhere in the complaint do the

5    plaintiffs suggest, indicate, allege that there was any state

6    action.

7               So I would respectfully submit under -- not only

8    Breckenridge but then the Carpenter case, and then the Bray

9    case -- since the plaintiffs haven't pleaded any state action,

10   they don't have any claim for violation of equal protection of

11   the law.

12              They also talk about in Paragraphs 312 and 341

13   deprivation of the equal privileges and immunities of

14   citizenship.    But with one exception highlighted in the

15   plaintiffs' brief, which is a discussion of the applicability

16   of 1982 to incidents around the synagogue, they don't cite

17   what privilege or immunity they're talking about.        We are left

18   to guess what the claim is about.

19              They don't identify any statute or principle of law

20   that creates or constitutes a privilege or immunity of which

21   they were deprived.

22              In one paragraph, 339, they say they were deprived of

23   equal rights, but they don't tell us, in the complaint at

24   least, what those equal rights were, again with the exception

25   of 1982.
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1             They also in Paragraph 342 and only in Paragraph 342

2    of the complaint reference the right to be free of the badges

3    and incidents of slavery.    And I'm going to address that with

4    the Court's indulgence in a moment.

5             They also talk about in Paragraph 312 being deprived

6    of the use, benefits and privilege of property and/or

7    contractual relationships.     Put aside the word "property."

8    There is no allegations that anybody was deprived of use,

9    benefits and privilege of contractual relationships.

10            Judge, if I read the brief correctly, they're saying

11   that the principal claims seem to be -- or set of claims seems

12   to be based on the Thirteenth Amendment.

13            As I understand the law, and these -- again, I will

14   be candid only having gotten in this case -- I've seen issues

15   that weren't necessarily addressed in other briefs.        I've got

16   copies of cases over here for both plaintiffs' counsel and the

17   Court.

18            Is I understand it, the Thirteenth Amendment --

19   excuse me.   1985(3) creates a remedy -- a remedy -- if persons

20   conspire to deprive a protected person of some right that is

21   declared elsewhere such as in the constitution or a statute.

22   One of the plaintiff's cases, U.S. v. Bledsoe, 728 F.2d 1094

23   stands for that proposition.

24            Great American Federal Savings & Loan Association v.

25   Novotny, 442 U.S. 366 at page 372 referring to 1985(3), it
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1    merely provides a remedy for violation of rights it

2    designates.    1985(3), quote, "Provides a civil cause of action

3    when some otherwise defined federal right" -- not state right

4    -- "to equal protection of the laws or equal privileges and

5    immunities under the laws is breached by a conspiracy."

6    That's Novotny at 366.

7               Also, as I read again Breckenridge, Carpenter, Scott

8    and to Bray, with limited exceptions 1985(3) does not apply to

9    private conspiracies to deprive persons of rights.        That's

10   United Brotherhood of Carpenters and Joiners of America, Local

11   610, v. Scott, 463 U.S. 825.

12              That was a case in which people were alleging a

13   deprivation of First Amendment rights, but there was no

14   allegation of a state action.

15              The same principle, though, applies with conspiracy

16   to deprive persons of the right to equal protection under the

17   Fourteenth Amendment.    If there's no state action, there's no

18   claim.    There's Wong v. Stripling, 881 F.2d 200, Fifth

19   Circuit, 1983, in which case there was a dismissal of claims

20   for deprivation of rights under the First and Fourteenth

21   Amendments for equal protection because there was no state

22   action.    And the Fifth Circuit was relying on Scott in that

23   case.

24              And then we have Tilton v. Richardson, 6 F.3d 683, a

25   Tenth Circuit case from 1993 affirming a dismissal of a
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1    1985(3) claim by conspiracy to deprive the plaintiff of rights

2    under the First and Fifth Amendments applicable to the

3    Fourteenth Amendment, the Court holding that absent state

4    involvement, plaintiff did not have an actionable claim for

5    deprivation of the First Amendment right, right to freedom of

6    religion -- excuse me, Your Honor -- due process, right to

7    fair and impartial trial.

8              Federer v. Gephardt, 363 F.3d 754, an Eighth Circuit

9    case affirming the dismissal of a 1985(3) claim for a

10   conspiracy to deprive of rights to freedom, association, and

11   speech holding that state action is necessary because the

12   First and Fourteenth Amendments only apply to action by a

13   governmental actor.

14             And then we move to be to Bray, again concedes that

15   there are instances in which a 1985(3) claim can exist against

16   a private actor.   The court there said there were a few rights

17   that are enforceable, if you will, as against the private

18   entity.   The court said those rights are the only Thirteenth

19   Amendment right to be free from involuntary servitude.

20   There's no allegation of involuntary servitude being forced on

21   anybody here.

22             And in the same Thirteenth Amendment context,

23   interstate travel, there was no allegation in this case that

24   anybody was deprived of the right to interstate travel.         In

25   other words, 1985(3) doesn't apply because there is just no
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1    state action, and there is none of the prohibitive private

2    action.   I will get to badges of incidents in a moment, Your

3    Honor.

4              Also in support of the proposition that in these

5    circumstances there is no -- without state action there's no

6    1985(3) claim.   Park v. City of Atlanta, 120 F.3rd 1157,

7    Eleventh Circuit case from 1997, in which the Court said,

8    among other things -- I think the point is applicable here --

9    1985(3) doesn't create any general federal tort remedy.

10             Now, with respect to the Thirteenth Amendment, I

11   acknowledge -- I have read Breckenridge and still have a

12   little bit of difficulty digesting it.      But as I understand it

13   given other cases, some prior to Breckenridge and some after,

14   the Thirteenth Amendment does give congress the authority to

15   determine what are badges and incidents of slavery.        That's

16   the Jones v. Alfred H. Mayer case, 392 U.S. 400 which

17   plaintiffs cite.    And I think it's Section 2 of the Thirteenth

18   Amendment gives the congress the power in Section 2 to enact

19   legislation to implement the Thirteenth Amendment.        And it's

20   been construed to, again, allow the congress to enact statues,

21   such as 1982, to ban imposition of badges of incidents of

22   slavery, but the Thirteenth Amendment itself doesn't create a

23   private cause of action, I guess with the limited exceptions

24   of circumstances in Breckenridge, although I would try to

25   distinguish that.
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1             In support of the proposition that the Thirteenth

2    Amendment does not create a right of action, Goss v. Stream

3    Global Services, Inc., a case from the Northern District of

4    Iowa from March 19, 2015.    Again, I have copies.      There is no

5    official cite I have been able to find for that.

6             The only right the Thirteenth Amendment creates on

7    its face is the right to be free of involuntary servitude.         We

8    mentioned Wong v. Stripling before, a Fifth Circuit case.

9    That stands for the proposition that the Thirteenth Amendment

10   does not create a right to be free from private racial

11   discrimination in all areas of life.

12            In the NAACP v. Hunt, 891 F.2nd 1555, an Eleventh

13   Circuit case from 1990, the court said the Thirteenth

14   Amendment in and of itself doesn't forbid badges and incidents

15   of slavery.   There has to be some implementing legislation

16   such as 1982 that would prohibit imposition of badges and

17   incidents of slavery.

18            In the City of Memphis v. Greene, 451 U.S. 100, the

19   Supreme Court noted that it had not ruled on the issue of

20   whether the Thirteenth Amendment itself executed, but it went

21   on in that case to form, I believe, a dismissal of the case

22   concerning a certain allegation of the badge and incident of

23   slavery because there was no statute to say what the defendant

24   was accused of was wrong, was prohibited.

25            In Palmer v. Thompson, 403 U.S. 217, the Supreme
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1    Court said -- that's a 1971 case.      The Court doesn't have a

2    authority to declare, legislate, and in quotes,

3    "implementation," that is to identify badges of slavery.

4              THE COURT:   You've used about 20 minutes.      You've got

5    10 for rebuttal, if you want to go on and use some of that

6    time.

7              MR. DiNUCCI:   I would like to, Your Honor.      I

8    appreciate the Court's indulgence.

9              What we have here, Judge, is no citation in the

10   complaint to any implementing statute other than 1982.         So to

11   the extent that 1982 is invoked in this case, if you will,

12   it's on behalf of Ms. Pearce, I believe, one of the Jewish

13   plaintiffs because of her allegation that her ability to

14   exercise access to use of the synagogue was restricted.         Put

15   that aside for a minute.    There's no other implementing

16   statute that the plaintiffs cite or rely on.

17             I would argue then there is no Thirteenth Amendment

18   claim that any plaintiff has except perhaps Ms. Pearce.         So I

19   don't know what's in the complaint.      What is the cause of

20   action?   I would suggest there is no cause of action because

21   we don't have an implementing statute cited with respect to a

22   Thirteenth Amendment claim, and we don't have state action.

23   At least with respect to the federal claims, there's no meat

24   there.    There's no substance there.

25             And briefly, with respect to Ms. Pearce's claim, I
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1    would respectfully submit that the cases she cites, the Greer

2    case and the Brown case, are inapposite.

3             I think one of the counsel used the phrase in

4    describing what happened with respect to the synagogue as a

5    one-off matter.   This isn't a continuing thing.       It wasn't a

6    question of vandalism, which I believe was the case in Greer.

7    In Greer, for example, a 1982 claim was upheld with respect to

8    the synagogue, deprivation of rights to use the synagogue,

9    people were shooting live ammunition into the synagogue.         We

10   don't have anything like that here.      In fact, there is nothing

11   pleaded that I recall seeing where Ms. Pearce actually had

12   been unable to use the synagogue.      She's been inconvenienced,

13   but I would respectfully submit not in the Greer or Brown

14   cases the plaintiffs cite indicates that you have a cause of

15   action of somehow your schedule has been changed.        And that's

16   about all we have alleged in the complaint.

17            With respect to 1986, Your Honor, as I understand the

18   law, what you have to allege is not only that there has

19   been -- well, you have to allege that the defendant knew of an

20   act about to be committed in furtherance of a conspiracy, an

21   act about to be committed and that you had the means

22   reasonably to prevent the commission of the act.

23            It's not a question of knowing there's a conspiracy

24   and bringing it into the conspiracy.      The law is you know the

25   act about to be committed in furtherance of a conspiracy and
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1    you fail when you could to interfere and to stop that act.

2              Buck v. Board of Elections of City of New York,

3    536 F.2d 522, a Second Circuit case from 1976.        Knowledge of

4    the acts is a statutory prerequisite to sue.       Not knowledge of

5    the conspiracy.   Knowledge of the act and implementation of

6    the conspiracy.

7              In the Second Circuit case, the Court cited Hampton

8    v. City of Chicago, 484 F.2d 602, a Seventh Circuit case from

9    1973.   Quote, "Liability under 1986, however, is dependent

10   upon proof of actual knowledge by a defendant of the wrongful

11   conduct of its subordinates."

12             Conduct, act, not existence of a conspiracy.        It's

13   the act that you have an -- that you know of and have an

14   opportunity to prevent.    There's no allegation here in this

15   complaint that Mr. Spencer knew of any particular act of

16   violence or other criminal conduct in which any other

17   defendant or unnamed co-conspirator engaged.       And there's no

18   allegation that he could have prevented it.

19             For example, where is the allegation that Mr. Spencer

20   knew about what Mr. Fields was going to do?       And where's the

21   allegation that Mr. Spencer, or for that matter any other

22   defendant could have prevented somebody from getting in his

23   car and running somebody down?     We have no such allegations.

24             Mr. Spencer has not been -- there's no specific

25   incident of misconduct that's been identified that Mr. Spencer
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                                   2300                               40


1    was aware of or could have prevented.

2              One last case, Bell v. City of Milwaukee, 746 F.2d

3    1205, a Seventh Circuit case from 1984.      Section 1986

4    predicates liability on:     One, knowledge that any of the

5    conspiratorial wrongs are about to be committed.        Wrong is as

6    an act.   It's not the conspiracy itself.

7              Two, power to prevent or to aid in preventing the

8    commission of those wrongs.     Neglect to do so.     And where the

9    wrongs were committed -- five, the wrongful acts.        Acts could

10   have been prevented by reasonable diligence.       Acts.   Not that

11   you could have stopped the conspiracy, not that you should

12   have never gotten into conspiracy, the alleged conspiracy, but

13   that once the conspiracy was formed and acts were being

14   committed in implementation of it, you knew what those acts

15   were, you were there and you could have prevented them.         No

16   such allegations in the complaint.

17             Thank you.   Your Honor.

18             THE COURT:   Thank you.    All right.

19             MR. PEINOVICH:    May it please the Court, Your Honor.

20   I'm Michael Peinovich.     I am a defendant myself, pro se, sir.

21             THE COURT:   Yes, sir.

22             MR. PEINOVICH:    I'm a political podcast server,

23   commentator, activist from New York, and it's well known that

24   I'm a controversial speaker, often called dogmatic speaker, I

25   have many opinions that many people may find offensive,
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1    shocking and such like that.     Nonetheless, I am -- my belief

2    is that I'm the kind of person for which the First Amendment

3    was designed.

4             And in this allegation, in this complaint by the

5    plaintiffs here, I would like to point out I have a broadly

6    similar argument that has already been stated, that the facts

7    alleged do not amount to -- do not amount to survive a motion

8    to dismiss.

9             And I would like to point out specifically where I am

10   mentioned in this -- this is a full complaint, 335 paragraphs

11   of allegations in here, and I am mentioned in only 14 of them.

12   And much like Defendant Spencer when it comes to the Discord

13   server on which the plaintiffs claim the primary planning for

14   this rally was conducted, there are no allegations of any

15   comments or any participation on my part in that server

16   because no such allegation could be made.

17            I am mentioned in a number of paragraphs but only 14.

18   And I'd like to call attention to some of those.

19            So in Paragraph 42, the plaintiffs introduce me.

20   They describe who I am and what I do.      They say that I have

21   appeared at several other political events alongside Defendant

22   Spencer, and that is true.     Defendant Spencer and I have done

23   many political events together.

24            There is no allegation that there was any violence or

25   allegations of violence that have arisen from any of these
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                                   2302                               42


1    other events that we have appeared at together.

2               They also say in this paragraph that Defendant

3    Spencer and myself spoke at McIntire Park August 12, 2017.

4    And they say, quote, "In the immediate aftermath of the car

5    attack."    And there's no allegation that I had any knowledge

6    of the car attack or any involvement in it whatsoever.         They

7    merely include this, in my opinion, in an attempt to draw the

8    implication in the mind of the reader that there was some

9    connection between my appearance in McIntire Park and the

10   incident, which they have no allegation that I knew anything

11   about, which is the car accident involving Mr. Fields.

12              Paragraphs 50, 52, plaintiffs talk about how I took

13   part in a May 13, 2017, demonstration in Charlottesville with

14   Defendant Spencer, with Defendant Damigo, among others.         They

15   talk about how we had lunch and we spoke at a pavilion.

16   Again, this is just -- I mean, I wonder why would they even

17   include that?    There's no actionable behavior there.

18              Paragraph 96, which is also going to be used in this

19   exhibit that they have, is an excerpted quotation of an

20   off-colored joke which they allege appeared on my podcast.         Of

21   course, they're not giving -- they say it was said by a

22   co-conspirator.    They don't name the co-conspirator.      They

23   simply allege that this person was a co-conspirator without

24   naming them.    There's no indication of who this person is

25   anywhere else in the complaint.
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1              Now, while there is certainly an off-colored joke

2    that some might find offensive, there's no date, there's no

3    time stamp, there's no episode name, there's no link, there's

4    no indication that this joke has anything whatsoever to do

5    with the rally at all.    And it's my belief that they

6    deliberately omitted those because to give the full context of

7    such quotation would show how absurd it is to include it in an

8    allegation that would indicate any kind of a conspiracy.

9              Certainly there's off-colored jokes that appear on my

10   podcast, but again nothing here would indicate knowledge or

11   communication or intent of anything relating to the events of

12   August 12, whatsoever.

13             Now, in Paragraph 141 they include a tweet.       If you

14   will allow me, this tweet is deliberately misconstrued in

15   their complaint to indicate this is a threat against residents

16   of Charlottesville.    It is exactly the opposite.      It is a

17   warning to them of the possibility of violence from

18   counterprotesters who, you know, attended with the expressed

19   intent of disrupting the events.     So this is a deliberate

20   misconstruction of my intent with that tweet.

21             So in Paragraph 207, they described that I approached

22   Lee Park or Emancipation Park with my security team.        This is

23   true.   I approached the park with a couple of friends of mine

24   who were there to watch my back in case of trouble.

25             Now, there's no allegation of violence by myself or
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1    my conspiracy -- excuse me.     The word "conspiracy" has been

2    thrown around so much that I accidentally said it -- my

3    security team.   There's no allegations that we engaged in

4    violence.   There's no allegations that we witnessed violence.

5    There's no allegations that we were armed.       There's nothing.

6              They said we approached the park.      And now we

7    approached the park for a legally permitted rally, which, you

8    know, reminds me that this court had actually enjoined the

9    City of Charlottesville to hold the rally.       The City of

10   Charlottesville attempted to revoke it.      This court said,

11   sorry, these guys have First Amendment rights.        You have to

12   allow them to speak.

13             So I was approaching the park with the intent to

14   speak.   There's no allegation of anything else.       Simply I

15   approached the park.

16             Paragraph 229.   They allege that Defendant Spencer

17   and I regrouped in McIntire Park after evacuating Lee Park.

18   They then say that, quote, "Violence broke out again."         Once

19   again, I would say this is a carefully worded sort of

20   equivocal statement meant to draw a connection between this

21   alleged violence and my appearance there at McIntire Park;

22   however, there's no direct allegation that I had any knowledge

23   of this violence or that I was involved in this alleged

24   violence any way.

25             They simply included it there hoping to draw the
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1    inference in your mind that there is some connection, but they

2    don't directly allege it because they can't.       They can't

3    directly allege that.

4              Now, in Paragraph 230 they say that in my remarks at

5    McIntire Park I described the counterprotesters at the rally

6    as savages.    This is true.   However, I believe since they have

7    raised the issue of my remarks at McIntire Park, I can

8    supplement them with other remarks I made there in the same

9    speech.   And I have included the full remarks and a video in

10   my motion to dismiss, but if you will allow me a few words.

11             So I introduced my remarks at McIntire Park by saying

12   this is not a rally about hate.     This is not a rally against

13   any other group of people.     This is a rally for ourselves.

14   And in my closing statement I said this is about love; this is

15   not about hate.    We love ourselves.    We love our people.     We

16   love our nation.    We love Europe, and we love America.       We

17   love white people, and there's nothing wrong with that.

18             Now, certainly some people might find such statements

19   offensive.    You know, I can't imagine why but they might.

20   These are First Amendment protected speech, and I certainly

21   don't see how this can be construed as a communication or

22   incitement to violence or some other such thing.        They are

23   words indicating love and support for a certain group of

24   people, not attacks on any other group of people.

25             Other factual allegations that they make about me in
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1    the complaint are similarly innocuous.       I had a guest on my

2    podcast who announced the event, again legally permitted

3    event.   I assisted Defendant Cantwell in fundraising while he

4    was in jail.    I appeared on a poster for the event.      Again,

5    this is just First Amendment stuff.

6               So my argument is broadly similar, that all the facts

7    alleged in this complaint do not suffice to indicate a

8    conspiracy that would survive a motion to dismiss on these

9    matters.

10              And that's all I have, your Honor.     Thank you very

11   much.

12              THE COURT:    Thank you.    That's all then for the

13   defendants, I believe.

14              Do you need a break before you start?

15              MS. KAPLAN:    Just five minutes, Your Honor, if that

16   would be okay.

17              THE COURT:    Okay.

18              MS. KAPLAN:    Thank you.    We appreciate that.

19              THE MARSHAL:    All rise.

20       (Recess taken from 11:30 a.m. until 11:39 a.m.)

21              THE COURT:    You may proceed.

22              MS. KAPLAN:    Yes.   Good morning, Your Honor.    I'm

23   Roberta Kaplan, counsel with my colleagues for the plaintiffs.

24   And I'm going to argue why we believe all the motions to

25   dismiss should be denied in their entirety.
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1              As an initial matter, Your Honor, plaintiffs are

2    obviously sensitive to the fact that Your Honor, the people

3    who work in this courthouse, the people who live in this

4    community have their own connections to, recollections of, and

5    personal experiences of what happened in Charlottesville last

6    summer.

7              Defendants too, as we know, have their own views

8    about what took place.    But we're here today on motions to

9    dismiss plaintiffs' first amended complaint.       And like with

10   any motion to dismiss, the allegations of the complaint must

11   be taken as true, and all inferences should be drawn in

12   plaintiffs' favor.

13             Let me start, Your Honor, if a may, with a

14   housekeeping notes, a couple of housekeeping matters.         First

15   of all, Defendant Fields did not move to dismiss at all.         So

16   he is in the case no matter what.      He had answered the

17   complaint.

18             In addition, six defendants, including Andrew Anglin,

19   Moonbase Holdings and others have defaulted.       So they too have

20   not filed motions to dismiss.     That leaves seven defendants in

21   the case who have filed motions to dismiss, and I will try to

22   focus on them and their arguments today.

23             Essentially, Your Honor, we believe -- and if you

24   could turn to page 2 in the kind of slide thing that we did,

25   PowerPoint without a PowerPoint, we believe that the
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1    defendants essentially made four arguments or their arguments

2    can be divided into four broad categories:

3             First, that the plaintiffs have not adequately

4    pleaded a Section 1985(3) conspiracy claim.

5             Two -- and you heard a lot of this already this

6    morning -- that particular defendants should not have been

7    named as defendants.

8             Three, that the court should accept, rather than

9    plaintiffs' interpretation of the facts, defendants'

10   interpretation of the facts alleged by plaintiffs.

11            And, four, that all of this is protected speech so

12   that no civil liability can lie in any event.

13            If it's okay with you, Your Honor, what I would like

14   to do is I'm going to address the first three of those

15   arguments.   And then my colleague, Karen Dunn, from the Boies

16   Schiller firm will address the fourth, which is the

17   constitutional arguments.

18            THE COURT:    All right.

19            MS. KAPLAN:    I'm going to start with 1985(3).       Well,

20   slide three has the claims in the case, which are 1985(3),

21   1986, common law conspiracy, and violation of Virginia Code

22   8.01-42.1, but I'm going to go directly into 1985(3).

23            And if you could turn, Your Honor, if you would to

24   slide five which has the history and language of Section 1985.

25   As we all know, Section 1985(3) was passed by the reconstruct
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1    in congress as a significant part -- and this is what Justice

2    Kennedy said just last year -- as a significant part of the

3    civil rights legislation passed in the aftermath of the Civil

4    War.   The statute is known as the Ku Klux Klan Act.       It was

5    passed in response to widespread violence and acts of terror

6    directed at blacks and their supporters -- crucial fact -- and

7    their supporters in the postwar South.

8               Against this backdrop of political terrorism,

9    Congress enacted Section 1985(3), affording a remedy for the

10   vindication of the civil rights of those being threatened and

11   injured, notably blacks and advocates for their cause.

12              I'll get to this later, Your Honor, but it's very

13   crucial.    Section 1985(3) is not limited to acts just about

14   African-Americans, or subsequent cases have held Jews.         It

15   also imposes liability for acts of violence and threats and

16   intimidation against supporters of their cause.

17              So I'm going to start with the elements of the claim,

18   which are on slide six, Your Honor.      There are five elements.

19   This comes from one of your own court's decisions.        The five

20   elements are a conspiracy of two or more persons:

21              Two, who are motivated by a specific class-based,

22   invidiously discriminatory animus.

23              Three, to deprive the plaintiff of the equal

24   enjoyment of rights secured by the law.

25              Four, which results in injury.
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1             And, five, as a consequence of an overt act committed

2    by the defendants in connection with the conspiracy.

3             So I'm just going to do it element by element kind of

4    the old-fashioned way, if that's okay.      And I'm going to start

5    with the conspiracy element.

6             First thing I want to say at the outset, Your

7    Honor -- and it addresses the question you have already

8    asked -- is the elements of a conspiracy for purposes of

9    Section 1985(3) are essentially the same whether it's state

10   law, federal law, common law or even criminal law.

11            There's a slight difference with criminal law in the

12   sense that in the criminal context, the agreement, the

13   conspiracy itself is what's criminal.      And you don't have to

14   show injury the way you do in a civil case.       But for all

15   intents and purposes of what we're talking about, the

16   essential elements and ideas of what constitutes a conspiracy

17   are the same.

18            So to plead a conspiracy, Your Honor, you have to

19   show facts supporting a plausible inference -- and we

20   certainly agree with Iqbal and Twombly that it has to be a

21   plausible inference -- that defendants positively or tacitly

22   came to a mutual understanding to try to accomplish a common

23   and unlawful plan.

24            And although this requires allegations that are more

25   than parallel conduct -- again citing directly from Twombly --
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1    it does not require there to be direct evidence of a meeting

2    of the minds.

3             And frequently in Section 1985 claims -- and I think,

4    Your Honor, I read -- I think I read practically every 1985(3)

5    case you yourself decided -- it is true that routinely these

6    claims get dismissed.    And they get dismissed because

7    frequently when plaintiffs bring these allegations, either

8    they don't show -- they allege a conspiracy in a conclusory

9    manner, as you have held many times, or they don't show

10   sufficient evidence of discriminatory animus.       And here we

11   think both of those are amply met.

12            So if you can look at Paragraph 7, staying with the

13   conspiracy, it gives Your Honor I think a sense of the kinds

14   of claims that routinely get dismissed.      There's a citing

15   without a name that we've already heard reference to which was

16   whether the relocation of a homeless center outside of the

17   city violated Section 1985(3).

18            There's attempts to convert what would be an ordinary

19   unlawful search and seizure into 1985(3).       That's the second

20   case, Smith v. McCarthy.    And then also in a criminal-related

21   context there have been attempts to argue that

22   misidentification of a plaintiff as a drug dealer violated

23   Section 1985(3).   And courts routinely dismiss those claims,

24   as you yourself have, because allegations are conclusory and

25   because there's not enough showing or allegation of a
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1    conspiracy.

2             But this case, Your Honor, I would respectfully

3    submit is very different from those cases.       And it is very

4    much more like became the cases I have on the right side of

5    that column which really go to the heart or the core of what

6    1985(3) was about.

7             There's the Griffin v. Breckenridge case, Your Honor,

8    in which some people were stopped in Mississippi believing

9    that they were civil rights workers and were beaten up.         And

10   that's the case, as you know, where the court made very clear

11   that state action is not required to make a 1985(3) claim.

12            There's the Waller case which involved an anti-Klan

13   rally in which there was violence.

14            And then there's the Bergman case, also another

15   Freedom Riders case which involved injury to Freedom Riders

16   traveling in the South.

17            Here we believe that the core of our allegations in

18   the case bring this case not even closer to the cases on the

19   right side of the column but squarely within the right side of

20   the column.

21            And, in fact, there's a slide later here in which the

22   Supreme Court in Griffin said this case -- if this case

23   doesn't represent the core of what congress intended in

24   Section 1985(3), it's hard to imagine what does.

25            And I would say that the exact same principle is true
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1    here, Your Honor.   We are talking about racially motivated

2    violence as the result of a carefully Klan planned conspiracy

3    with people who showed their animus with massive --

4    particularized allegations which I'll get into on the

5    conspiracy -- obviously harm to plaintiff, obviously overt

6    acts.

7             So on the conspiracy, let me tell you that -- before

8    I get there, the defendants seem to be suggesting that the

9    only kind of conspiracy that would be sufficient here or that

10   is sufficient under the law is if all the defendants somehow

11   got into a room on one particular occasion and agreed on

12   exactly what the conspiracy was.     But that's not true.      We all

13   know that not to be true, your Honor.

14            Yourself talked about a drug conspiracy which in

15   certain ways is analogous here where it's agreed that certain

16   people in the conspiracy are the hub and do the planning and

17   coordinate and maybe get the profits, and other persons in the

18   conspiracy who may not even know each other are the spoke,

19   although here we don't have that issue because all the

20   defendants, we will show, did have contact with each other

21   prior to August 11.

22            But among the kinds of things that we allege, we

23   allege that defendants met in person to organize the events of

24   August 11 and 12th.

25            THE COURT:    Let me go back to 1983, 1985(3), and just
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1    ask you to comment on this case, the Second Circuit case, ALMA

2    Society, Inc., v. Mellon.    And in that case it said the Court,

3    referring to the Supreme Court, has never held that the

4    amendment itself unaided by legislation as it is here reaches

5    the badges and incidents of slavery, as well as the actual

6    conditions of slavery and involuntary servitude.        Indeed, all

7    indications are to the contrary.     And so is there a

8    freestanding right to be free of the badges and incidents of

9    slavery involved in this case?

10            MS. KAPLAN:    There is, Your Honor.     The courts have

11   held interpreting the Thirteenth Amendment most frequently in

12   the context of upholding the constitutionality of hate crimes

13   statutes, like the Matthew Shepard Act and acts like that have

14   specifically held -- and we cite the cases in our brief --

15   that racially motivated violence in and of itself is a badge

16   and incident of slavery.    And there's no question that's what

17   happened here, Your Honor.

18            So, yes.   It doesn't happen all that much, but this

19   is exactly the kind of badge and incident case that the

20   Supreme Court was talking about in Griffin.

21            THE COURT:    Well, in Griffin, though, they did find

22   that there was a violation of their right to traveling.

23            MS. KAPLAN:    Correct.   They said both travel -- they

24   were clear.   It was the travel, and there was the badges of

25   incidents under the Thirteenth Amendment.
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1              Here I'm not alleging travel, although I would say

2    that some of the incidents have an aspect of detention to

3    them.   In particular, Friday night when our clients were

4    surrounded by hundreds of protesters with lit torches and

5    could not leave from around that the Jefferson statute, that

6    has elements of detention.     Same with the synagogue.     Same

7    with the church on Friday night.

8              I'm not saying it's interstate travel.       It's not, but

9    it gets to kind of the core of what badges and incidents of

10   slavery were all about.    And again, we have those cases cited

11   that say racially motivated violence is enough.

12            So getting back, Your Honor, to the things that we

13   allege the defendants did.     They met in person.

14            To respond to something that was said by one of my

15   friends on the other side, of course we don't know exactly

16   what they said at their meetings.      They were secret meetings.

17   That's why we are going to get discovery to find out what they

18   said.

19            We cite the Hill case in our brief that says

20   conspiracies often by their very nature are secret.        So we can

21   allege that they met.    I can't give you a transcript yet of

22   what they said.

23            Two, they moderated, reviewed, directed and managed

24   private online chat rooms that were used to organize and plan

25   the violence.
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1             They encouraged the use of weapons in their

2    communications about August 11 and 12th.       They organized the

3    secret torch-lit march on August 11, which was unlike

4    August 12.   There was no permit for that.      It was secret, but

5    as we allege in the complaint and as we're seeing in

6    discovery, plans were underway to do that all the way going

7    back to the initiation of the Discord server in June.         That

8    wasn't some kind of on the spur-of-the-moment plan.        It was

9    something that had been planned as far back as June.

10            They coordinated which uniforms each group should

11   wear so that they would be identifiable.       It's very crucial

12   for the James Fields allegations.      They lined up and marched

13   in Emancipation Park and preplanned regimented order on

14   August 12.   They charged at bystanders on August 12 in

15   militaristic fashion.

16            THE COURT:    Well, did all of them do this, though?

17   We you say "they" --

18            MS. KAPLAN:    Right.

19            THE COURT:    They seem to be saying we don't -- we

20   won't accept the broad brush of all the defendants, when you

21   have this many defendants, to say all the defendants did so

22   and so without being specific about what they did.

23            MS. KAPLAN:    So I would say -- I was talking about

24   the conspiracy as a whole.     I would say -- I have three more

25   responses to that, Your Honor.
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1              First, any conspiracies, particularly large

2    conspiracies, which this was, different people did different

3    things.   We don't deny that.    There were people who we

4    allege -- and most of the people actually who moved to dismiss

5    were the leaders of the conspiracy.      They were the organizers,

6    the planners, the thinkers, for lack of a better term.         We

7    don't allege that all of them -- we may find out in discovery.

8    We don't allege that they were the guys who were actually

9    marching in regimented order.     They were directing the

10   marching in regimented order.

11             THE COURT:    Were there any people -- I mean, do you

12   allege were there any people that, say, on Saturday that were

13   not part of this conspiracy but were there because they were

14   just protesting the idea or they did not wish the statute to

15   come down?

16             MS. KAPLAN:    Yes, Your Honor.

17             THE COURT:    People who were not members of the

18   conspiracy.   There were people.    You would agree there were

19   people there who were not members of your alleged conspiracy?

20             MS. KAPLAN:    Absolutely.

21             THE COURT:    Who shared or maybe shared the views of

22   the conspirators, as you allege, but were not actually members

23   of the conspiracy.

24             MS. KAPLAN:    Correct, your Honor.    I would not

25   contend that every person who showed up on their side in
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1    Charlottesville on August 11 and 12 --

2             THE COURT:    What if some of those persons

3    committed -- got caught up in the violence and committed

4    violent acts?

5             MS. KAPLAN:    They're not liable as co-conspirators.

6    We are not seeking to hold anyone liable that way as

7    co-conspirators.    We may identify additional co-conspirators

8    during the course of discovery.     But what we're saying, we

9    carefully chose the 25 defendants we did.       We obviously, as

10   you just noted, could have named many more.       And I'm not

11   saying we couldn't have named more.      I'm just saying we

12   couldn't have named everyone.

13            We chose them because with the exception of

14   Mr. Fields, who has not moved to dismiss, these were all

15   people who were directing, managing, kind of masterminding

16   what happened.    And so we went to the hub, to use the analogy

17   from a drug conspiracy, to the hub of the conspiracy rather

18   than suing all the spokes.     That's not to say that there

19   aren't spokes who could have be sued.      It doesn't even mean

20   that there are not other spokes we may ask Your Honor to name

21   as we discover them in discovery.

22            But to understand our philosophy here, we went after

23   the leaders.    And I hear Your Honor's concern about the size

24   of the conspiracy.    Let me try to address that in a couple

25   ways.
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1             First of all, I think living here today in this

2    country at this particular time, I think we can all agree that

3    the Internet and modern technology is both a blessing and a

4    curse, to quote the Bible, Your Honor.      And it's certainly

5    true here.

6             There's no question that this particular conspiracy

7    could not have happened the way it did without the use of

8    Discord, podcasts and other modern technology that the

9    defendants explicitly used.

10            And to answer the question you asked earlier about

11   Discord, it is a private chat room.      It's not something open

12   to the public.   You have to ask to be admitted to one of these

13   chat rooms, and then -- I will show you later the

14   presentation -- be approved by one of the moderators.         The two

15   moderators here were Mr. Kessler and Mr. Mosley.

16            The final response I want to have to your concern

17   about the scope is that looking back actually at the prior

18   cases in which 1985(3) similar conspiracies were upheld, they

19   also have been quite large.

20            We went back and we looked -- and I can hand up the

21   complaint if you want it, Your Honor -- at the Waller case

22   which was the Klan violence in Greensboro, North Carolina.         In

23   that complaint that was upheld against a motion to dismiss,

24   there were 87 separate defendants who were named, so.

25            THE COURT:    I don't think there is any problem how
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1    many you name as long as you meet the Iqbal/Twombly standard

2    and have enough facts about each one to hold them in the case,

3    not just a generalization or conclusory language.

4              MS. KAPLAN:   I agree, Your Honor.     And we believe we

5    have.   We gave you specific paragraphs in our oppositions to

6    the motions to dismiss.    If you have specific questions, I

7    will address them.

8              To give you one example with respect to Mr. Spencer,

9    because it came up during argument, there was some discussion

10   about whether Mr. Spencer participated in Discord.        We don't

11   know that.   People use nicknames or handles, something like

12   that on Discord.   So they don't use their own names.       So we

13   only allege for the people who we knew we could identify by

14   the handler.

15            However, there is an individual on Discord that we

16   allege in Paragraph 78 of the complaint -- his handle was

17   Caerulus Rex who was a coordinator between various security

18   details and that he has been identified publicly as a frequent

19   bodyguard of Spencer.

20            Again, we think we are going to be able to hook many

21   more people in once we have the discovery.       But we only have

22   people -- I'm very aware of my good-faith obligations.         We

23   only allege the people on Discord who we could match their

24   handle to the specific people.

25            Another issue which I think Your Honor is obviously
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1    familiar with which is obviously in a conspiracy case

2    circumstantial evidence alone is sufficient.       That's because

3    in the typical case, as we have already discussed, your

4    plaintiff can only really guess at the contents of the secret

5    communications, at least until discovery is permitted.

6             And indeed in the Mendocino case that we cited in our

7    brief, the Ninth Circuit case, highly coordinated action and

8    repeated patterns of conduct has been held to be sufficient to

9    create a justifiable inference that preplanning occurred

10   sufficient to allege a conspiracy.

11            But here, Your Honor, we actually have a lot more

12   than that, as I think is clear from the size, detail, and

13   specificity of the complaint.

14            Here we have put forward dozens of the defendants'

15   communications before, during and after what happened in

16   Charlottesville in which defendants or groups of defendants

17   explicitly discuss their joint operation, discussed its white

18   supremacist objectives, discussed how to use racialized

19   violence and intimidation to achieve those goals.

20            Today, as I said, with the Internet and social media

21   platforms, the modern-day conspiracy can be formed and take

22   place largely online.    And that is in substantial part what

23   happened here.   Many of the communications, as we've said,

24   happened on Discord.

25            Discord is an online group messaging platform that
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1    allows for simultaneous suite chats.      As I said before and as

2    Your Honor cogently asked, it is a privately platform.         It's

3    not open to the public.

4             If you turn to page 9, Your Honor, of the printed up

5    outline, it shows you what a page on Discord looks like.          And

6    I think it is incredibly illustrative.

7             If you look in the right-hand column under "Event

8    Coordinator" at the top, Your Honor, you'll see -- and just to

9    be clear, the bottom quote that we highlight there is one

10   alleged in our complaint.    I took this from the complaint, and

11   this is how the page actually appears on Discord.

12            You have event coordinator on the right.        You have

13   Mr. Mosley and MadDimension.     I'm sorry, Your Honor.     I'm

14   losing my vision.    We believe those two people are Mr. Mosley

15   and Mr. Kessler.    You have a number of moderators.      Again, we

16   don't necessarily know who those are.      One is called Chef

17   Goyardee.   One is called Heinz.    One is called Kurt.     And of

18   course with Discord we hope to identify those people.

19            You have a discussion at the bottom from Erika

20   talking about how this is not a public server in response to

21   some of those questions, that it is invite only through our

22   trusted, pre-vetted alt-right servers.      We haven't even opened

23   it up to the proud boys or the alt-lite because the other

24   mods, event coordinators, and myself are all aware that they

25   act like kikes.
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1               And then on top of that screen, Your Honor, you see

2    the kinds of communications that happened.       This is all the

3    way back in June.    I believe this is dated June 5.      The kind

4    of communications that were happening all the time from the

5    early part of June until what happened on August 11 and 12,

6    communications all of which we don't have, but of the ones

7    that we have already clearly show a preconceived plan to

8    commit racialized violence in Charlottesville on August 11 and

9    12th.

10              As for the defendants who we know to be on Discord,

11   we know 11 of them were.    Kessler, Mosley, Heimbach, Parrott

12   Cantwell, Ray, Vanguard America, Identity Evropa,

13   Traditionalist Workers Party, League of the South, and Daily

14   Stormer.    And as I said, we have very strong reason to believe

15   that others, including Spencer, either were directly or

16   through people working for them, and we intend fully to

17   identify that during discovery.

18              In addition, certain of the groups actually had their

19   own servers.    So if you look at the left, Your Honor, this is

20   the Charlottesville server, Charlottesville 2.0.        If you look

21   at the left, these are all the different discussion groups

22   that they had.    Shuttle Service, code of conduct, questions

23   for coordinators, flags, promotion, gear and attire.        You can

24   see that on the left.

25              Then in addition to this, certain groups like
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1    Identity of Evropa had their own Charlottesville server.         So

2    when it said Charlottesville 2.0, it was its own Vanguard

3    America server for Charlottesville.

4              And as I said, we believe that what we have here is

5    just the tip of the iceberg.     We are pursuing discovery, as

6    Your Honor can imagine, against Discord.       These all came from

7    stuff that was openly available on the Internet.        And we

8    believe there is much, much more.

9              Indeed, there was a leadership chat on Discord, one

10   of these topics, and we don't have the communications in that

11   chat.   That has not been made publicly available.       We intend

12   to pursue it in discovery.

13             In addition, Your Honor, some chats have been made

14   public since we amended our complaint.      To the extent Your

15   Honor is at all interested, we actually could amend to add

16   them, but we are constantly getting new information in all the

17   time through discovery and otherwise.

18             If that's -- I'm going to go now to the second

19   element, Your Honor, if it's okay with you, which is the fact

20   that defendants were motivated by a specific class-based

21   invidiously discriminatory animus.      Here I don't think there

22   is much really to argue about.     Defendants don't really argue

23   that that didn't exist here.

24             As I said before, the Supreme Court precedent is very

25   clear that it's not only discrimination against black people
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1    or Jewish people but also people who advocate for their

2    rights.   And that shows up in the Carpenter case and the

3    Waller case that we cite in our briefs.

4              The Fourth Circuit itself has explicitly held that

5    animus against Jewish people is sufficient to satisfy the

6    discriminatory animus element of Section 1985.        We cite the

7    Ward v. Connor case for that.

8              And it should even be noted as occurred in the

9    Griffin case that the plaintiff doesn't even have to be right

10   about it.   Remember, in Griffin the defendants mistakenly

11   thought a white guy in the car was a civil rights worker.         It

12   turned out he wasn't, but that still was sufficient to state a

13   1985(3) claim.

14             As for the third element, which is what Your Honor

15   asked about, which is the basis of the objective that would

16   be -- that is for which defendants could be liable under

17   1985(3), as we've explained we believe that this is a core

18   racially motivated violence case which is a badge and incident

19   of slavery under the Thirteenth Amendment.

20             I told you about those cases in which courts in the

21   conduct of hate crimes have held that racially motivated

22   violence is itself a badge and incident of slavery.

23             I can refer you to the United States v. Roof case out

24   of 2016, and there are other cites that all stand for that

25   proposition.
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1               Although some of the defendants have seemed to argue

2    that badges and incidents of slavery somehow was only actual

3    in enslavement or actually having, you know, bonds around your

4    wrists or things like that, we obviously know that's not true.

5    That's not what the cases say.      It's certainly not what the

6    Supreme Court said in Griffin.

7               And indeed, in Griffin, as I suggested, the Supreme

8    Court talked about claims of detention, threats and battery as

9    also coming within the ambit.

10              So let me just again kind of repeat what I said.       If

11   you kind of think about what happened here, Your Honor, both

12   the torch-lit rally on March -- I mean, August 11 -- excuse

13   me -- the kind of temporary detention of worshipers at

14   St. Paul's Church on August 11 because of the horrible

15   violence going on outside and, of course, what happened at the

16   synagogue we think are all classic racially motivated

17   violence, badges and incidents of slavery acts.        I can go

18   into --

19              THE COURT:    Was there any property damage or injury

20   to anyone at the synagogue?

21              MS. KAPLAN:    I don't -- Your Honor, we didn't

22   allege -- we said that they had to do some stuff to, like, add

23   security measures, etc.      I don't there's -- there's not

24   secure -- there's not property damage for which we are making

25   a claim.
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1             Our claim is under 1982, that the kind of marching

2    and intimidation that happened outside the synagogue Saturday

3    was a classic 1982 violation.     The courts have held that you

4    don't have to be an owner of the property.       You can be a

5    member of a synagogue.

6             In fact, Your Honor, sadly there seems to be a whole

7    line of Section 1982 synagogue cases.      It seems to be the most

8    common feature in 1982 of cases which we cited in our brief

9    where people do drive-by shootings or shouting or intimidation

10   of a synagogue.   It keeps Jewish people understandably fearful

11   given the blood and soil references, the torch-lit rally here.

12   I think any Jewish person would reasonably be fearful.

13            THE COURT:    If you walk past the synagogue and make

14   an anti-Semitic shout or something, that doesn't violate --

15   that is a First Amendment right.

16            MS. KAPLAN:    No.   And if an individual person in a

17   peaceful circumstance walks by the synagogue and calls

18   everyone in there kikes, that doesn't state a 1982 violation,

19   but that's not what we allege.

20            What we allege is that essentially armed groups of

21   men, mostly men wearing Nazi insignia, carrying weapons

22   marched around the synagogue, not only shouting Nazi slogans

23   but talking about burning it and bombing it and burning it

24   down.   And that kind of --

25            THE COURT:    All of that happened right there?
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1               MS. KAPLAN:   Yes.   Part of it was because it was so

2    close to Emancipation Park.      So all the people who were at

3    Emancipation Park, it was a hop, skip and jump for them to go

4    over to the synagogue.    It's less than, as you know, a couple

5    blocks away to do that.

6               And we allege how the members of the synagogue,

7    including our plaintiff, were so incredibly fearful for

8    themselves, for their sacred objects in the synagogue, the

9    fact that they had to leave out the back door and since then

10   have had to implement all kinds of security measures to

11   continue to use the synagogue the way any American should be

12   able to use their house of worship.      So I think that covers

13   the 1983 -- the 1982, your Honor, as well.

14              The next element is injury.    Again, there doesn't

15   seem to be much of a dispute here that our plaintiffs were

16   injured.    To give you probably the most dramatic examples,

17   Plaintiff Magill had a stroke that the doctors attributed to

18   the events and stress of what happened.

19              Plaintiff Marcus Martin was hit by the car.

20   Plaintiff Wispelwey was, as you heard talked about earlier,

21   was intimidated, threatened, and maced during the events that

22   occurred.

23              Overt acts again, I think again we've talked about

24   that.   If there's a conspiracy, we obviously know there have

25   to be overt acts, and we have alleged numerous overt acts
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1    throughout the complaint.

2              Let me -- if Your Honor has -- I'm happy to answer

3    any other 1985(3) questions, but I was going to go to the next

4    argument, if that's okay with Your Honor.

5              THE COURT:    Okay.   I just wanted to understand.     If

6    you're a member of one of these associations, how far does the

7    liability go?    How does the association become liable for the

8    members of its organization and have the members liable for

9    anything the organization may be --

10             MS. KAPLAN:   So you're talking about something like

11   the Traditionalist Worker Party or Vanguard America, etc.,

12   etc.   So those associations in and of themselves, themselves

13   responded, encouraged, promoted, asked people to come to the

14   event.   As I said before, some of them even had their own

15   Discord channels to do that kind of planning and

16   communication.

17             And then as I said before, for the most part, with

18   the exception of Defendant Fields who has not moved, we have

19   sued the people who were the leaders of the organization.          So

20   we're not suing, you know, kind of the people at the bottom.

21   We are not suing the spokes, again, for the most part.         We are

22   suing the leaders.

23             And it was very clear as you'll see in the

24   communications that it wasn't just individuals.        It wasn't

25   just Matt Heimbach as an individual in the Traditionalist
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1    Worker Party supporting, planning, and conspiring for the

2    events on August 11 and 12th.     It was the Traditionalist

3    Worker Party itself.

4             And they talk about -- you heard, I think, a quote

5    before about we acquitted ourselves as warriors.        That was

6    discussion of a group of an association.       I don't recall which

7    one, but they all use that similar kind of language.

8             Let me talk about defendants' argument about

9    liability by association, Your Honor, because I understand

10   your questions about that.     And as I've said, we've tried to

11   be very careful about who we chose and why we chose them.          And

12   we believe that each of the defendants we have chosen played a

13   very prominent role and was an influential member or leader of

14   the conspiracy.

15            If you turn to slide 12, Your Honor, that shows based

16   on allegations in the complaints connections that the

17   defendants had to each other prior to August 11 and 12th.          So

18   these were not a bunch of random people who all happened to

19   show up in Charlottesville on August 11 and 12th and then kind

20   of get involved in a riot.     These were all people who knew

21   each other, had multiple interconnections with each other well

22   before August 11 and 12.

23            And to give you an example, Defendant Damigo is the

24   founder of Identity Evropa.     Mosely, another defendant, became

25   the leader of Identity Evropa in 2016.
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1               The Traditionalist Worker Party was created by

2    Defendants Heimbach and Parrott.     Heimbach, along with Schoep

3    and Hill lead the Nationalist Front.      Schoep is also the

4    leader of the National Socialist Movement.       And Hill is also

5    the cofounder and president of League of the South.        So these

6    entities all have multiple interconnections not only by

7    association but with membership affiliates that preexisted

8    anything that happened August 11 and 12th.

9               I know there was an argument about the Nationalist

10   Front and whether it's just a website or it's truly an

11   organization.    On that, Your Honor, I believe an affidavit was

12   put in.    We believe we have a right in discovery to contest

13   that affidavit and there'll be an improper action for Your

14   Honor to take on a motion to dismiss.

15              In addition, Your Honor, following these slides we

16   have slides for each of the defendants who move to dismiss

17   with particularized allegations in the complaints about each

18   them.

19              And I'm not going to go through all of them, Your

20   Honor.    Your Honor can read them for yourself obviously.       But

21   just to start with Richard Spencer on the slide 13, there's

22   numerous allegations in the complaint about Mr. Spencer's

23   role, what he did and what he said.      Same thing, Your Honor,

24   for Mr. Kessler.    Same thing for Mr. Mosley.

25              And let me go forward, Your Honor, because I want to
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1    give some time for my colleague, Ms. Dunn, to speak to

2    Vanguard America and James Fields, which is on Paragraph 22.

3             So there is a factual dispute here.       Again, I don't

4    think it's amenable for resolution on the motion to dismiss.

5    We argue that James Alex Fields showed up wearing the uniform

6    of Vanguard America on August 12.      We allege that he was

7    holding a shield with the insignia of Vanguard America on

8    August 12.

9             We believe, as Your Honor I'm sure has surmised, that

10   all of the discussions leading up to August 11 and 12th, the

11   discussions them called edgy jokes about running over

12   protesters were not truly edgy jokes, Your Honor.        They were

13   truly discussions and planning and encouragement of what they

14   wanted people like Mr. Fields to do.      And we believe that's

15   exactly what he did.

16            We understand that they're saying he's not a member,

17   but that is something that we will be able to explore in

18   discovery.   It is not an issue that we believe Your Honor

19   should resolve on a motion to dismiss.

20            One more thing, Your Honor, and then I'm going to let

21   my colleague take over.      And I think we have resolved the

22   other questions.   The state law, I think we can rest on our

23   brief unless you have any questions.

24            THE COURT:    No.

25            MS. KAPLAN:    But of course, Your Honor, a party is
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1    liable for the reasonably foreseeable consequence of the

2    conspiracy.   And that doesn't mean that the conspiracy has to

3    go exactly as planned.    The drug conspiracies that you're

4    talking about, often all kinds of horrible things happen

5    during the course of a drug conspiracy.      Sometimes people are

6    killed, perhaps not --

7             THE COURT:    Everyone in a conspiracy is liable for

8    the reasonable -- what might reasonably be expected to happen

9    whether it's what was planned or not.

10            MS. KAPLAN:    Right.   So our allegations here are not

11   only that much of this stuff was planned, discussed, and

12   encouraged, but as Your Honor just said, they are also liable

13   for all the reasonably foreseeable consequences.        And having

14   weeks and weeks and weeks of discussions telling people, you

15   know, if you beat up a nigger, it's not really beating

16   someone, telling people which weapons to bring, telling people

17   how to take a sock and put pennies in it to hit someone over

18   the head, talking about running over protesters, and even

19   worse, Your Honor, talking about the legality of running over

20   protesters.   That was all planned for what they actually did.

21   And even if it wasn't planned, Your Honor, it was perfectly

22   reasonably foreseeable given the planning of this conspiracy.

23            Your Honor, I'm going to turn the table to my

24   esteemed colleague.    And I'm obviously happy to answer any of

25   your questions.
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1               THE COURT:    All right.   Thank you.

2               MS. DUNN:    Good afternoon, Your Honor.    Karen Dunn

3    from Boies Schiller Flexner for the plaintiffs.

4               Hopefully -- we took seriously Your Honor's

5    invitation to assist the court.        So hopefully you have the

6    second slide deck which should be titled "Constitutional

7    Defenses."    And I'll use that to assist in the argument.

8               THE COURT:    All right.

9               MS. DUNN:    When we're talking about constitutional

10   defenses, we're talking about the First Amendment and the

11   Second Amendment in this case.        Only 20 out of 25 defendants

12   raised a First Amendment defense, although I've heard

13   Mr. Kolenich raise it here on behalf of his 13 defendants, but

14   as to them we would argue these arguments are waived in any

15   event.

16              Out of the five who did, the briefing is very

17   general, talking about the importance of the First Amendment,

18   something that absolutely no one here would deny.        And out of

19   those five, only four of them raised the Second Amendment

20   defense.

21              So at the outset, Your Honor, because there's been a

22   lot of discussion already about speech in this case, I want to

23   make something very clear, which is that the plaintiffs in

24   this case believe in the importance of the First Amendment and

25   its protections.
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1             And, in fact, it's because they believe in all of our

2    freedoms and protections in part why they decided to bring

3    this case rather than privately nurse the injuries that they

4    suffered.

5             If you look, Your Honor, on page 2 in the deck, it

6    cites Justice Black and his decision in Giboney v. Empire

7    Storage & Ice Company, a decision from 1949.       And as Your

8    Honor probably well knows, Justice Black was a big champion of

9    the First Amendment.    And he set us on the right track for

10   decades after, followed in the Supreme Court and other courts,

11   by telling us that the First Amendment does not protect

12   violations of valid statutes even if speech is part of the

13   course of conduct, because if it did, it would be practically

14   impossible to enforce the law.     So slide three is a road map

15   of our explanation of why the First Amendment would not be a

16   valid defense in this case.

17            The plaintiffs in this case allege that defendants

18   participated, as Ms. Kaplan explained, in a common plan, a

19   conspiracy to do violence and to intimidate and that the

20   plaintiffs were injured as a result.

21            The First Amendment, as is axiomatic under the law,

22   does not protect against violence.      It does not protect

23   against intimidation or legal conspiracies.

24            And so plaintiffs have alleged in the complaint words

25   of the defendants.   Of course, the defendants' words appear
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1    and they appear for three reasons, none of which encroach on

2    the First Amendment.

3               First, they appear to show that defendants were part

4    of the conspiracy.

5               Second, the words are there to show that defendants

6    had intent to do violence or to intimidate.

7               And, third, the defendants' words appear to show

8    invidiously discriminatory animus, which is required under

9    1985(3).    And we'll talk a little bit about each of those

10   things.

11              Slide four talks about and lays out the case law here

12   about violence and intimidation not being protected by the

13   First Amendment.    And the key cases there, I'm sure Your Honor

14   is well familiar with, Wisconsin v. Mitchell, American Life

15   League v. Reno in the Fourth Circuit -- that was Judge

16   Michael's opinion -- and of course for true threats, Virginia

17   v. Black.

18              So if I beat someone up because my view is I don't

19   like their race, the First Amendment doesn't protect me.         And

20   that's true if I scream at them very loudly that I don't like

21   their race and then beat them up.      It's true if I get together

22   with my friends and decide that together we're going to do

23   that and scream at them together.      And it's the same thing,

24   Your Honor, if that happens on the Internet.

25              Intimidation, Virginia v. Black, as Your Honor has
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1    previously applied in your decisions protects against a true

2    threat.   And importantly, as you've noted, the speaker does

3    not have to intend to carry out the threat.       They just have to

4    intend to place a person in fear of bodily harm or death.

5              And so slides five and six are meant to assist the

6    court by outlining the paragraphs of the complaint that allege

7    violent conduct on August 11 and 12th and allege intimidation

8    on August 11 and 12th.     And I think Ms. Kaplan amply described

9    some of the acts of violence, the assaults, the kicking, the

10   beating, the tear gas, the mace.      And so I think it's best if

11   I focus on a few of the allegations of intimidation because

12   those are arguable -- argued by the defendants.

13             THE COURT:    I don't think anyone seriously would

14   argue that the First Amendment protects violence or physical

15   harm to somebody to express your opinion.       Protects the words

16   but not violence.

17             MS. DUNN:    I think what they're -- the defendants'

18   arguments appear closer to saying, well, we're just saying

19   these horribly offensive words and that's protected speech.

20             And so just to point Your Honor to one example on

21   page 7 which is --

22             THE COURT:    The speech could be evidence -- if you

23   did all the beating someone up, your words might be evidence

24   of what your intention and the motivation is.

25             MS. DUNN:    Exactly.   So the words are, in our
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1    complaint, evidence of intent, which is well accepted under

2    the law.    They are evidence of the formation of agreements and

3    participation in the conspiracy.     And they're evidence of

4    invidiously discriminatory animus, which is required under

5    1985.

6               And so, Your Honor, I just want to point out because

7    I heard defendants argue about how conclusory our complaint

8    is, and they seem to be upset that there is not enough detail.

9    And on the other hand in their briefs they argue that we are

10   quoting their words too much and we are talking too much about

11   the things that they said, but this specifically goes to the

12   allegations of the complaint.

13              For example, when Defendant Ray says, "The heat here

14   is nothing compared to what you're going to get in the ovens,"

15   maybe in some context that would be looked at as some sort of

16   protected speech.    In this context it was said during a

17   torchlight rally where people were throwing lit torches and

18   also throwing unidentified fluid on people.

19              So taken together, our complaint clearly does not do

20   what the defendants in their briefs and to some extent here

21   say, which is be unhappy about somehow offensive speech or

22   things that were said that people might not like.        I think the

23   detail of the complaint specifically goes beyond that.

24              Another example, Plaintiff Romero in the days

25   following August 12 when Defendant Fields drove a Dodge
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1    Challenger into a crowd killing somebody received phone calls

2    to her house offering to sell her a Dodge Challenger.         So to

3    some extent, in some context that could be speech.        And here

4    it is a threat and it's intimidating.      And as Your Honor well

5    understands, it goes to the evidence that we will present

6    about the conspiracy to do violence and to intimidate.

7              So, Your Honor, most of our slide deck is really just

8    to help you break down what parts of our complaint are used as

9    evidence of a conspiracy and used as evidence of intent.

10             And it is a fairly unusual thing to have so much of

11   defendants' language at this point at the motion to dismiss

12   stage.   Normally you wouldn't even get this until later on.

13   And so we have alleged a lot of detail in this complaint.         And

14   that is a virtue of the fact that we have it, but we expect,

15   as Ms. Kaplan said, to receive more if Your Honor allows

16   discovery to proceed.

17             Your Honor, one thing that I do want to call Your

18   Honor's attention to -- I won't go through all of these -- but

19   is on slide 11.   There was a lot of discussion about

20   allegations with regard to Mr. Spencer.      And just generally

21   speaking, there is a conspiracy in this case where acts were

22   talked about on the Internet.     Acts exactly the same or

23   similar to those acts happened.     And then after members of the

24   conspiracy took credit for those acts.

25             And so on page 11, there is a particular allegation
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1    to Mr. Spencer where following the Friday night torch march

2    where people are assaulted and there is violence and

3    intimidation, Spencer says to the crowd, "We own these

4    streets.    We occupy this ground."

5               And so that -- in any conspiracy case, frankly if

6    there were no other allegations specific to him other than

7    that he was a leader of the conspiracy, that he knew these

8    people, the fact that he was a participant and a leader at an

9    event and then overtly claimed credit for it would be

10   sufficient to keep him in the case at the motion to dismiss

11   stage.

12              Having some familiarity with these drug cases, if you

13   are the organizer of the drug conspiracy, you're not the

14   person who swallows the drugs and takes it on the airplane.

15   But if you are the person who helps set up the means to do

16   that or helps organize the plan to do that, and then

17   afterwards all that is alleged is you say to the person, you

18   know, great job doing that and that is evidence of your

19   agreement, of your conspiracy with others to do that and then

20   your speech of saying to the person who actually performs the

21   act, well done, good job for our team, you have basically

22   adopted what they have done as part of the conspiracy.         And

23   that is not dissimilar to what happened here.

24              I think the leaders in this conspiracy didn't always

25   have their specific fingertips on the acts of the conspiracy,
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1    and but they did help organize, and in many circumstances we

2    are seeing evidence that they took credit for it after the

3    fact.   I think it bears some discussion to talk about --

4              THE COURT:    Well, to take credit for that, for the

5    violence, in effect you are saying that they admitted that

6    they participated in the violence.

7              MS. DUNN:    Well, it's alleged that they did

8    participate.   They were there.    They organized.     But I think

9    it's additional evidence of their participation and their

10   leadership if you're the person who subsequent to that

11   addresses the crowd and claims victory after the assaults and

12   after the violence and intimidation have taken place.

13             THE COURT:    Well, of course, if you prove that they

14   planned it and at the end they took credit for it or said, you

15   know, we did a good job, that's right.      But just taking and

16   saying I'm happy this happened at the end of something doesn't

17   make you part of the conspiracy.

18             MS. DUNN:    Well, that's true, Your Honor, but that's

19   not all that we allege.

20             THE COURT:    Okay.

21             MS. DUNN:    I agree with you.   You just can't be a

22   separate person and say it's great that that happened, but we

23   include Mr. Spencer's comments in the complaint to show as

24   evidence of his participation in the conspiracy.        And so when

25   counsel to Mr. Spencer gets up and says there's no statements
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1    from Mr. Spencer in the complaint, that's just not true.

2               In fact, there is a statement from Mr. Spencer after

3    he participates in the Friday night torch march and witnesses

4    all of the assaults to climb up and say to the crowd and

5    address the crowd to say, "We own these streets."        And so that

6    at a motion to dismiss stage is certainly sufficient even

7    alone without the rest of what's alleged in the complaint to

8    keep him in the case.

9               THE COURT:    "We own the streets"?   I mean what --

10              MS. DUNN:    "We own these streets.   We occupy this

11   ground."

12              THE COURT:    All right.   Why -- how does that make him

13   conspiring to commit violence?

14              MS. DUNN:    Well, it makes him part of the conspiracy

15   to do violence.    Actually, I shouldn't say that.      It is

16   evidence of his participation in the conspiracy to do

17   violence.    And this taken together with the other allegations

18   in the complaint that just go to his relationships with the

19   other members of the conspiracy taken together are allegations

20   sufficient to keep him in this case.

21              But my point is that Mr. Spencer was not just some

22   sort of passive participant in this as his counsel would like

23   Your Honor to believe.      He was an organizer.   He was a leader.

24   He was the person who when in the immediate aftermath of this

25   happening addressed the crowd to say that the objective had
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1    been achieved.   And so that's the point.

2             I agree with Your Honor it is not the only thing, but

3    all of these statements put together in the complaint are

4    evidence of the defendants' intent and of their participation.

5    So to look at these things in very discrete isolation is --

6    would be, I think, improper.

7             The reason conspiracies are pled in this way is as

8    Your Honor says.   At this point you wouldn't be able to

9    connect every dot.   Actually, here we are able to connect more

10   dots than is usually the case at the complaint stage, but it's

11   just not required.   It's not just required.

12            So let me quickly address the requirement of alleging

13   invidiously discriminatory animus under 1985(3).        So most of

14   the briefing on the First Amendment is a complaint about

15   plaintiffs' reliance on defendants' speech and saying that

16   we're just upset about offensive words.

17            And I think it is an important point to understand

18   legally that 1985(3) requires these statements to be in the

19   complaint.   It requires us to rely on statements or other

20   indicia that defendants had invidiously discriminatory animus.

21            And in Bray, which is a case that defendants rely on,

22   Justice Scalia of the Court, he recognizes that this is a

23   requirement.   And he says that not only do you need to say and

24   prove that there is invidiously discriminatory animus, you

25   have to show that these acts were done for this reason.
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1              So the defendants cannot be heard to complain that we

2    have included allegations in this complaint that specifically

3    go to this requirement.    And so on page 13 we've listed some

4    of those, but that is why they're there.       They are not --

5    there is not a single allegation in this entire complaint that

6    alleges that plaintiffs are disturbed simply by offensive

7    speech.

8              I heard Mr. Kolenich raise the Skokie case.       The

9    Skokie case is not applicable here.      It is a case where the

10   Supreme Court only passed on an issue of prior restraint and

11   decided a prior restraint was not appropriate in a

12   circumstance where there was going to be a march.        The march

13   turned out to be a peaceful march.      And then the Illinois

14   Supreme Court issued what turned out to be a more or less

15   merits opinion.

16             Virginia v. Black relies on that case basically to

17   say you have to look at acts in context and that burning a

18   cross is not always something that is without First Amendment

19   protection, but in certain circumstances if it is accompanied

20   by other indications that it is motivated by animus, that it

21   is prohibited under a valid law, then it is punishable.

22             So in order to rely on this Illinois Supreme Court

23   case, you would have to ignore all of the law in this area

24   which talks about what conduct is actually prescribable under

25   the First Amendment and in particular all the case law under
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1    1985(3).

2               And so here I will just say that most generally

3    construed, defendants' arguments about speech are essentially

4    an argument that 1985(3) is not constitutional because you

5    have to prove the purpose of the act, which is this

6    invidiously discriminatory animus, but there is a series of

7    cases, and I will just name them in case this is helpful to

8    Your Honor:    Wisconsin v. Mitchell; Thomasson v. Perry, which

9    is a Judge Wilkinson opinion; American Life League, which is a

10   Judge Michael opinion, that all discuss that if a law is

11   content neutral, which 1985(3) is, then that is perfectly

12   permissible and there is no First Amendment forcing that they

13   draw analogy to the Title 7 context.

14              A number of the arguments that defendants make are

15   not -- are really not proper at the motion to dismiss stage.

16   Mr. Peinovich pointed to Paragraph 141 of the complaint.         And

17   he says, well, when I made the point I was making in

18   Paragraph 141, I was really just issuing a warning that

19   violence could happen.    And so this is not a reason for a

20   complaint to be dismissed or to find that Mr. Peinovich is

21   protected under the First Amendment against enforcement or

22   proceeding of the case under 1985(3).

23              What he has effectively done is he has teed up what

24   is a fact dispute.    And hopefully he has also now conceded, to

25   some extent, knowledge of what happened.       And so if Your Honor
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1    allows this case to proceed, what is going to happen is there

2    will be an argument between the parties about whether

3    Mr. Peinovich was evidencing his intent, was evidencing

4    knowledge that violence was going to happen because he was

5    helping to plan violence, or was he just simply issuing a

6    warning to people that violence can happen and he was looking

7    out for their welfare.

8              And so the other citations in the briefs -- and this

9    is mainly Mr. Peinovich's brief, Mr. Spencer's brief and

10   Mr. Hill, Mr. Tubbs and League of the South brief.        They

11   characterize the things that they were saying as just edgy

12   jokes.   They say we have no sense of humor, which I assure

13   them is not the case, and they say that their statements were

14   just bravado.    So these are fact disputes.     They are allowed

15   to say that.    And I assume if this case goes forward, we'll

16   have that conversation some more.

17             They rely heavily on Brandenburg.      I assume Your

18   Honor knows at this point we are not alleging incitement.

19   That is not our basis for liability.      There are a few

20   allegations in the complaint that are alleged incitement.

21             Like, for example, when one of the defendants yells

22   "charge" and then people charge into a group.       So there are

23   incidents of incitement, but we do not rely on meeting the

24   Brandenburg standard for satisfying our burdens on the motion

25   to dismiss.
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1             Unless Your Honor has questions about the Second

2    Amendment, I will skip discussion of that.

3             THE COURT:    I don't think that's necessary.

4             MS. DUNN:    And I think just on behalf of all us, Your

5    Honor, we really appreciate the generosity of your time.

6             THE COURT:    It's your time.    It's not my time.

7             All right.    Would you like to respond?

8             MR. KOLENICH:    Thank you, Your Honor.      It's

9    remarkable after the way they drafted their complaint that

10   they are standing up here saying we really just needed to

11   prove racial animus for 100-and-whatever pages and however

12   many hundreds of paragraphs.     Your Honor doesn't need to spend

13   one single second worrying about that.      For purposes of the

14   motion to dismiss, my clients had racial animus.        Admitted.

15   No problem.

16            The Skokie case is directly relevant.        Nobody is

17   saying you can immunize yourself from being sued over violence

18   because it also has a political component to it.

19            What we're saying is if all you do is use speech,

20   unless it's prescribed by Section 1982 with those particular

21   requirements, it's protected under the First Amendment.         It is

22   not actionable.   It is not actionable that they had swastikas.

23   It is not actionable that they had anti-Semitic T-shirts.         It

24   is not actionable that they said anti-Semitic things.         It is

25   not actionable that they said racial things.       It is only
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1    actionable if it morphs into conduct.      And they have a problem

2    with their conspiracy allegation.      They need to prove before

3    the conduct occurred.

4              There's a lot of talk about what they said

5    afterwards, great, awesome, we got our guys out, and worse.         A

6    woman died in a car accident and people are on the Internet

7    laughing about it.   And I promise you, Your Honor, right now

8    while I'm standing here, somebody on the alt-right is

9    publishing something on the Internet that is not helpful to

10   their case.   It's not civilized, not a good idea.       And no

11   matter how many times the lawyers tell them that, it doesn't

12   help.   Many of them, that's how they are, but post hoc

13   statements don't help them prove a conspiracy.        They cannot by

14   their nature help them prove a conspiracy without the

15   preparatory planning.

16             And again, as I said before, there's a lot of

17   planning.   Again, admitted.    The court doesn't need to worry

18   about that, but what is it planning for?       In the universe of

19   their complaint, what are they planning?       They're planning to

20   go to Charlottesville.    They're planning to go Charlottesville

21   and march around and insult racial minorities and religious

22   minorities for a political purpose.      At the end of the day,

23   the political purpose is about a local statue.

24             Forgive me.   I'm from Ohio.    I don't even know what

25   statue it is or what general it is, and it's about opposition
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1    to multiculturalism in general, which are perfectly

2    permissible First Amendment protected speech.

3               To the extent that any violence happened, if they

4    have alleged any violence in their complaint -- limiting

5    ourselves to their complaint as we must -- all they've got is

6    in the spur of the moment somebody threw some torches.         That's

7    it, or Robert Ray shouted at the people in front of a

8    synagogue, or somebody maced somebody back by the statue.

9    There is no evidence of planning for that.

10              There's evidence of planning to bring torches.

11   There's evidence of planning to bring mace and use sticks and

12   whatever else as weapons if necessary.      And that's in the

13   Discord.    And that's in their complaint, the little snippets

14   that they put in the complaint, but there is no evidence of an

15   overarching conspiracy that anybody could have joined to

16   affirmatively commit these acts of violence.

17              And again, they want the Court to use the presence of

18   a swastika and the presence of the phrase "blood and soil" and

19   other such Nazi imagery because of the effect it has on Jewish

20   people and people in a synagogue.      The First Amendment doesn't

21   allow for that.    The Skokie case stands for that.

22              And I'm not sure counsel got that case exactly right.

23   If I'm not mistaken, that march didn't actually happen.         They

24   decided not to hold it after they got the permission to hold

25   it, or at least one of the scheduled marches didn't happen.
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1              So the violence that was committed, James Fields, the

2    car attack, where is there anything in the Discord planning

3    that?   Negligence is not enough.    Recklessness also is not

4    enough.   It has to be intentional misconduct.      They have to

5    intentionally have planned to run people over in

6    Charlottesville for this conspiracy to stick, for this to

7    survive a motion to dismiss.

8              THE COURT:   Aren't there sufficient allegations that

9    Fields intentionally ran people over?

10             MR. KOLENICH:   There is certainly sufficient

11   allegations that Fields intentionally ran people over.         What

12   we're saying is that there were no sufficient allegations that

13   that was part of the a priori conspiracy even in the moment.

14             When did he decide to intentionally run people over?

15   When -- you know, they basically stood up here and said

16   Vanguard America, which is one of my clients, told Fields to

17   run people over.   That's not in their complaint.       They want

18   you to deduce that again from the First Amendment protected

19   speech.   That's our whole point.

20             The Court may disagree with us when you review the

21   pleadings, but that is the only point we're trying to make

22   with the motion to dismiss.     We are not saying -- I think

23   there's some confusion on this -- that 1985 isn't applicable.

24   We are not saying that the Thirteenth Amendment and

25   Section 1982 don't support a 1985(3) conspiracy claim.         There
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1    are hundreds of reported cases on the subject.        It absolutely

2    does.    Racial animus is an element of that, but again we are

3    conceding that for purposes of this motion.       So that's not our

4    argument.    If other people are going to make that argument,

5    great.

6               We're not saying that each and every member of the

7    conspiracy had to agree to each and every part of the violent

8    acts.    That's not my clients' argument.    If other people want

9    to make that, okay, but you don't have to worry about that for

10   our motion.

11              What we're saying is there are no sufficient

12   allegations that our people agreed to do anything except go to

13   this rally carrying torches, carrying mace, on and on and on.

14              They did not plan to or agree to attack anybody.

15   Now, and that's not -- that's not an obtuse legal concept.

16   You know, if a Sears repairman goes to somebody's house to

17   repair their dishwasher and then he goes over and commits a

18   rape of someone living in the house, Sears gets off the hook.

19   That's not what they sent him there to do.

20              Now, if Sears sends them in the house and they said,

21   hey, grab the lady's wallet while you're there, they're still

22   not liable for the rape even though they sent him in there to

23   commit a crime because he went beyond what they told him to

24   do.

25              So all of these criminal acts either happen -- or
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1    these violent acts, I should say, either happen on a

2    spur-of-the-moment conspiracy between a limited number of

3    people who don't involve all of my clients, or in most cases

4    any of them, or they exceeded what my clients did agree to go

5    there to do and, therefore, my clients can't be held liable.

6             My clients at worst were reckless with the language

7    in what they sent people in there to do.       This was no

8    actionable intent -- they haven't pled any -- to commit the

9    violent acts they're complained of, most especially not the

10   James Fields car attack.

11            Thank you, Your Honor.

12            THE COURT:    Thank you.   Sir?

13            MR. JONES:    Your Honor, the difficulty for plaintiffs

14   is that there are 25 separate defendants.       And it's not enough

15   to simply say all the defendants conspired to engage in

16   violent acts.   They have to show particular facts for each

17   particular defendant, as Your Honor pointed out.        Hopefully in

18   their memorandum --

19            THE COURT:    Well, you don't have to show that each

20   committed a violent act but they conspired, each was a member

21   of a conspiracy to commit a violent act.

22            MR. MALE SPEAKER:     That's right.    And what we have

23   here, Your Honor, as was the case in Twombly, I think, is

24   parallel conduct.   We have my clients, Mr. Hill, Mr. Tubbs,

25   League of the South attending the same planned rally as the
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1    other defendants.   There were hundreds if not thousands of

2    people at that rally.    The plaintiffs are trying to hold my

3    clients responsible for everything, all the violence that

4    happened on those two days.     I don't think they have

5    sufficiently pled facts to show there was a conspiracy to

6    satisfy the Twombly standard.

7              Thank you, Your Honor.

8              THE COURT:   Thank you, sir.

9              MR. DiNUCCI:   Thank you, Your Honor.     I'm not sure

10   how much time I have.    I'm sure you will tell me when to stop.

11   Thank you, Your Honor.

12             Judge, one of the points that opposing counsel made

13   is that the arguments of defendants are tantamount that

14   1985(3) is unconstitutional.     I'm not arguing that.

15             My position, Judge, given the facts pleaded in this

16   complaint and the cases I cited earlier, 1985(3) doesn't

17   apply.   They don't have any claim for violation of equal

18   protection or freedom association, freedom of speech because

19   there's no state action here.

20             To the extent they try to bootstrap themselves into

21   1985(3) through the Thirteenth Amendment with one exception,

22   that of Ms. Pearce, they don't cite any implementing statute

23   under Section 2 of the Thirteenth Amendment.       So the

24   Thirteenth Amendment doesn't apply.

25             With respect to Ms. Pearce's claim, as I recall the
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1    allegations, her situation, if you will, is different from

2    that of the plaintiffs in -- I think it was Brown and Greer.

3    There was no act of violence at or within the synagogue.

4    There was no physical damage to the synagogue.        There was no

5    personal injury to Ms. Pearce.     Nobody laid a hand on her if I

6    recall correctly the allegations of the complaint.        So the

7    simple fact is 1982 doesn't apply here.      They haven't pleaded

8    facts to make it applicable.

9             Now, there is talk about -- I believe this is the

10   Waller v. Butkovich case that's been cited by the plaintiffs

11   and talking about how supporters of black people and their

12   equal rights, their civil rights have standing to sue.

13   Assuming the argument under that is true -- and I don't agree

14   with that.   I haven't seen a Supreme Court case that says

15   that.

16            In fact, to the extent there's a reference in

17   Breckenridge to supporters, it's in discussing the legislative

18   history of the civil rights acts or the Ku Klux Klan Act -- I

19   always forget which title it is -- from the post Civil War

20   era.

21            I haven't been able to find a U.S. Supreme Court case

22   that says supporters have the standing that the plaintiffs

23   claim they do.   But assuming that they do, the plaintiffs'

24   case, Waller v. Butkovich, which is 584 F. Supp. 909 -- it's

25   from the Middle District of North Carolina -- says at
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1    page 937, "The Court notes, however, that to succeed on this

2    ground," meaning supporters have rights, "the plaintiffs must

3    prove that they were identifiable in defendant's eyes as

4    member of a class of advocates of equal rights for black

5    people; otherwise, the defendants could not have singled them

6    out as objects of conspiracy on this ground."

7              There's no pleading of facts along those lines.

8    There's no pleading, for example, that any defendant knew any

9    of these plaintiffs, saw any of these plaintiffs, could figure

10   out who they were and what they were there for.        We don't have

11   any facts like that pleaded.

12             There was some discussion by counsel of the post

13   Rotunda march statements by Mr. Spencer.       It begs that he may

14   have said what -- and I think it's Paragraph 175.        "We own

15   these streets.   We occupy this ground."     That begs to question

16   was there a conspiracy?    That doesn't prove there was a

17   conspiracy.

18             Where are the allegations that show the

19   communications that command the direction?       Now, to the extent

20   there is a statement that Mr. Spencer -- allegation that

21   Mr. Spencer was a leader, it's conclusory.       Prove -- excuse

22   me.   Plead facts, as I would submit they have to, that shows

23   he was actually leading a conspiracy.

24             With respect to, again, the Thirteenth Amendment,

25   it's adamantly our position there has got to be some
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1    implementing legislation on which the claims are based.

2               The Thirteenth Amendment does not create a private

3    cause of action.    And to the extent it might be tantamount of

4    saying there is a private cause of action, the case

5    Breckenridge is distinguishable.     The right to interstate

6    travel was implicated.     That's not implicated here.

7               With respect to Mr. Fields and acts of other people,

8    there is a serious question of foreseeability here.        And

9    there's certainly no allegations that I can find that

10   Mr. Spencer or any other individual defendant intended that a

11   vehicle be used to cause great bodily harm or death of

12   anybody.   There is nothing in the complaint about that.

13   There's certainly no communications amongst the defendants.

14              THE COURT:   It wouldn't make it -- if hypothetically

15   you plan to have, you know, to do violence, you have a

16   conspiracy to commit violence at a particular gathering, it

17   doesn't make any difference how the violence was committed.

18   If somebody did something which was totally unusual, if you

19   planned to commit violence and violence is committed, it

20   doesn't make a lot of difference how it was committed.

21              MR. DiNUCCI:   Assuming arguendo that's correct -- and

22   I'm not challenging Your Honor --

23              THE COURT:   Right.

24              MR. DiNUCCI:   -- the fact remains they haven't

25   pleaded that it was intended that such an act occurred.          And
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1    they haven't sufficiently pleaded any more broadly that is was

2    intended that violence occurred.     There's not any allegation

3    by Mr. Spencer to that effect.

4              So if there is not an allegation that he intended

5    that violence occur, how is he part of a conspiracy that leads

6    to liability for what Mr. Fields did?      It's not --

7              THE COURT:   I'm saying hypothetically the fact that

8    if there was a conspiracy to hurt, injure the protesters or

9    counterprotesters, it wouldn't make any difference that you

10   maybe thought they were going to use billies and clubs and

11   guns and somebody used a car to run somebody down.

12             MR. DiNUCCI:   Well, and I do think -- maybe it's not

13   for today -- there's going to be arguments about

14   foreseeability.   What if somebody showed up with an M1 Abrams

15   tank?

16             THE COURT:   Well, but if you plan to kill them with a

17   little handgun, a Saturday night special and they got killed,

18   I don't think it would make any difference probably to the

19   victim.

20             MR. DiNUCCI:   I'm not going to disagree with that,

21   Your Honor.   Let me move on.

22             THE COURT:   I don't mean to go on, but I think that

23   generally if you are going to -- you are going to the bank to

24   rob a bank and you don't anticipate, you don't know that

25   somebody has got a gun but they pull a gun and use it, you
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1    know, that's part of the conspiracy.

2             MR. DiNUCCI:    I understand your point, Your Honor.

3             THE COURT:    You could be liable except maybe in

4    Virginia.    I think there is an exception.

5             MR. DiNUCCI:    Judge, there was some discussion by

6    Ms. Kaplan about -- I think it's Paragraph 78 of the complaint

7    to a reference to a man -- I think it's a man -- who is

8    supposedly a bodyguard for Mr. Spencer.      And that was in the

9    context of the discussion about Discord.       Again, there is no

10   allegation in the complaint that Mr. Spencer had access to

11   utilize Discord.

12            And the fact that the plaintiffs are referring to

13   this alleged bodyguard of Mr. Spencer is tantamount to a

14   concession they have no evidence whatsoever -- and they

15   haven't pleaded any -- that Mr. Spencer actually used Discord.

16            THE COURT:    You need to sum up.

17            MR. DiNUCCI:    Lastly, Judge, just a procedural point.

18   There was reference to some demonstrative exhibits, I will

19   call them.    I would object to the consideration of anything in

20   those packets because they're outside the complaint.

21            Thank you, Your Honor.     I appreciate it.

22            THE COURT:    Well, we are looking at the pleadings.

23            MR. DiNUCCI:    Understood, Your Honor.

24            THE COURT:    Not anything --

25            MR. DiNUCCI:    Just being careful.     Thank you, Your
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1    Honor.

2               THE COURT:   Thank you, all.    I appreciate your

3    argument.

4               Oh, I'm sorry.   I forgot all about you.

5               MR. PEINOVICH:   That's okay.   It happens.    I had a

6    quick --

7               THE COURT:   A lot of defendants like that.

8               MR. PEINOVICH:   I have one important point I'd like

9    to make.    Your Honor correctly asked Ms. Kaplan if it was

10   possible for someone to attend the rally with no intention of

11   being involved in this alleged conspiracy of which the

12   plaintiffs have been begging the question that it even existed

13   at all throughout their pleadings without having sufficient

14   facts to support that, and she said it was.

15              So given that, one of the most important standards

16   that they have to meet in order to survive our motions to

17   dismiss is plausibility.     They have to go -- their story has

18   to be more plausible than an alternative explanation for the

19   same facts.    And the most obvious alternative explanation for

20   the same facts is that this was a political rally, and

21   political activists were attending the rally.

22              There was nothing that would -- nothing in the facts

23   pled specifically as to me particularly that would indicate I

24   had any intent or was involved any conspiracy.        You know, when

25   people plan together or even just talk about plans that other
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 1   people have made, you know, they're attempting to take that

 2   and nudge it up to this line of, you know, credibility.         But

 3   the fact is that if it's an already planned legal event, which

 4   unfortunate events happen and they are sort of post hoc trying

 5   to fit this all together in some kind of conspiracy, it

 6   doesn't work.    And she admitted that there's a possibility

 7   that people could attend this rally that had no intent of

 8   violence.

 9              And given that there's no facts pled that would

10   indicate that specifically me -- and I would argue really

11   anybody -- had this intent, it doesn't survive the motion to

12   dismiss.

13              That's all.    Thank you very much, sir.

14              THE COURT:    Thank you.    All right.

15              Did you have something?      Okay.   Thank you.

16              Thank you, all.    I appreciate your argument and your

17   patience.    And I will let you hear something reasonably soon.

18   Thank you.

19              THE MARSHAL:    All rise.

20        (Court recessed at 12:56 p.m.)

21

22                                CERTIFICATE

23   I, Tracey Aurelio, certify that the foregoing is a

24   correct transcript from the record of proceedings in

25   the above-entitled matter.
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 2   /s/   Tracey Aurelio               Date:   May 31, 2018

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